              Case 20-17228-CMG                   Doc 1     Filed 06/03/20 Entered 06/03/20 18:25:00                                Desc Main
                                                           Document     Page 1 of 180

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY, TRENTON DIVISION

Case number (if known)                                                      Chapter       11
                                                                                                                              Check if this an amended
                                                                                                                               filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sea Oaks Golf Club, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  99 Golf View Dr
                                  Little Egg Harbor, NJ 08087-4219
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ocean                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  99 Golf View Dr Little Egg Harbor, NJ 08087-4219
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)

                                   Other. Specify:      Limited Liability Company




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 20-17228-CMG                     Doc 1         Filed 06/03/20 Entered 06/03/20 18:25:00                                       Desc Main
                                                                 Document     Page 2 of 180
Debtor    Sea Oaks Golf Club, LLC                                                                       Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                531390

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

     A debtor who is a “ small          Chapter 11. Check all that apply:
     business debtor”must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     subchapter V of chapter 11                                   cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     (whether or not the debtor is a                              procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor” ) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
     check the second sub-box.                                    (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                  under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                   When                                    Case number
                                                District                                   When                                    Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                         Relationship
                                                District                                   When                                Case number, if known



Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 2
             Case 20-17228-CMG                  Doc 1        Filed 06/03/20 Entered 06/03/20 18:25:00                                    Desc Main
                                                            Document     Page 3 of 180
Debtor   Sea Oaks Golf Club, LLC                                                                   Case number ( if known )
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       No
    have possession of any
    real property or personal   Yes.      Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)

                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                           Other         grounds require maintaining otherwise the golf course will be destroyed.
                                           Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                           Is the property insured?

                                           No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                            1,000-5,000                                 25,001-50,000
    creditors                    50-99                                           5001-10,000                                 50,001-100,000
                                100-199                                          10,001-25,000                               More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                 $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities        $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50  million                   $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 20-17228-CMG                     Doc 1      Filed 06/03/20 Entered 06/03/20 18:25:00                                     Desc Main
                                                             Document     Page 4 of 180
Debtor    Sea Oaks Golf Club, LLC                                                                         Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       June 3, 2020
                                                    MM / DD / YYYY


                              X   /s/ Joseph Mezzina                                                             Joseph Mezzina
                                  Signature of authorized representative of debtor                               Printed name

                                          Managing Member of J & J Partnership,
                                  Title   LL




18. Signature of attorney     X   /s/ Timothy P. Neumann Esq                                                       Date June 3, 2020
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Timothy P. Neumann Esq
                                  Printed name

                                  Broege, Neumann, Fischer & Shaver LLC
                                  Firm name


                                  25 Abe Voorhees Dr
                                  Manasquan, NJ 08736-3560
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (732) 223-8484                  Email address         tneumann@bnfsbankruptcy.com

                                  TN 6429
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
Case 20-17228-CMG   Doc 1    Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                            Document     Page 5 of 180
Case 20-17228-CMG   Doc 1    Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                            Document     Page 6 of 180
                Case 20-17228-CMG                           Doc 1    Filed 06/03/20 Entered 06/03/20 18:25:00                                           Desc Main
                                                                    Document     Page 7 of 180

        Fill in this information to identify the case:
 Debtor name Sea Oaks Golf Club, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY,                                                                                 Check if this is an
                                               TRENTON DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 -NONE-




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                                      Doc 1           Filed 06/03/20 Entered 06/03/20 18:25:00                                                            Desc Main
                                                                                  Document     Page 8 of 180
            Fill in this information to identify the case:

 Debtor name            Sea Oaks Golf Club, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $        5,456,000.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $            73,000.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $        5,529,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $       10,284,259.96


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$        3,000,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         13,284,259.96




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1     Filed 06/03/20 Entered 06/03/20 18:25:00                    Desc Main
                                                               Document     Page 9 of 180
           Fill in this information to identify the case:

 Debtor name        Sea Oaks Golf Club, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    No.     Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                            debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    No.     Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

    No.     Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

    No.     Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.     Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.
     Yes Fill in the information below.
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                     page 1
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                        Desc Main
                                                           Document     Page 10 of 180
 Debtor         Sea Oaks Golf Club, LLC                                                     Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No.     Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
    Yes Fill in the information below.
           General description                                              Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers (i.e.,     debtor's interest       for current value       debtor's interest
           VIN, HIN, or N-number)                                           (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    2015 GMC Sierra K15 4WD
                    2015 GMC Sierra 1500 Pic Up                                     $23,000.00                                        $23,000.00


           47.2.    2005 GMC Van                                                      $7,000.00                                        $7,000.00


           47.3.    2004 Dump Truck                                                 $12,000.00                                        $12,000.00


           47.4.    1980 55c John Deere Bakhow                                        $9,000.00                                        $9,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating
           homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           2007 Hauling Trailer                                                       $7,000.00                                        $7,000.00


           Various mowers and equpment used to
           maintain golf course and grounds                                         $15,000.00                                        $15,000.00



 51.       Total of Part 8.                                                                                                       $73,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                page 2
Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                         Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                           Desc Main
                                                           Document     Page 11 of 180
 Debtor         Sea Oaks Golf Club, LLC                                                         Case number (If known)
                Name



     No.    Go to Part 10.
    Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                     Nature and extent   Net book value of      Valuation method used   Current value of
            property                                        of debtor's         debtor's interest      for current value       debtor's interest
            Include street address or other                 interest in         (Where available)
            description such as Assessor                    property
            Parcel Number (APN), and type of
            property (for example, acreage,
            factory, warehouse, apartment or
            office building, if available.
            55.1. 99 Golf View Dr,
                    Little Egg Harbor, NJ
                    08087-4219
                    18 hole golf course,
                    clubhouse with a
                    restaurant and pro
                    shop, maintenance
                    shop, and 31 room
                    inn                                     Fee Simple               $5,000,000.00      Management estim               $5,000,000.00


            55.2.   99 Golf View Dr,
                    Little Egg Harbor, NJ
                    08087-4219
                    vacant land
                    approved for
                    subdivision of 29
                    condo / townhouse
                    development                             Fee Simple                 $456,000.00      tax assessment                   $456,000.00



 56.        Total of Part 9.                                                                                                        $5,456,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
            Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
            Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.     Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No.     Go to Part 12.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                                Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                                  Desc Main
                                                                  Document     Page 12 of 180
 Debtor           Sea Oaks Golf Club, LLC                                                                              Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                       $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $73,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $5,456,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $73,000.00          + 91b.            $5,456,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $5,529,000.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                         page 4
Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                        Desc Main
                                                            Document     Page 13 of 180
           Fill in this information to identify the case:

 Debtor name          Sea Oaks Golf Club, LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Ally Financial                                Describe debtor's property that is subject to a lien                  $12,259.96                $23,000.00
        Creditor's Name                               2015 GMC Sierra K15 4WD
        Bankruptcy Department                         2015 GMC Sierra 1500 Pic Up
        PO Box 130424
        Saint Paul, MN 55113-0004
        Creditor's mailing address                    Describe the lien
                                                      2015 GMC Sierra 1500 Pick Up
                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Atlantic Homes, Inc.                          Describe debtor's property that is subject to a lien            $10,272,000.00              $5,456,000.00
        Creditor's Name                               99 Golf View Dr, Little Egg Harbor, NJ; 18
                                                      hold golf course, clubhouse with a
                                                      restaurant and pro shop, maintenance shop
                                                      and 31 room inn ; Vacant land approved for
        c/o James J. Curry LLM                        subdivision of 29 condo/townhouse
        505 Main St                                   development
        Toms River, NJ 08753-7443
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        07/15/2015                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                         Desc Main
                                                           Document     Page 14 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                Case number (if known)
             Name

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       No                                           Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                             $10,284,259.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       96

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity
        James J. Curry, esq.
        505 Main St                                                                                         Line   2.2
        Toms River, NJ 08753-7443




Official Form 206D                   Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                            page 2 of 2
Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                         Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                                    Desc Main
                                                           Document     Page 15 of 180
    Fill in this information to identify the case:

 Debtor name         Sea Oaks Golf Club, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                             $0.00
           Adrian Dieckman                                                     Contingent
                                                                               Unliquidated
           491 A Rte # 9P                                                      Disputed
           West Creek, NJ 08092
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     1016                           Is the claim subject to offset?   No  Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                             $0.00
           Alan Kirkpatrick                                                    Contingent
                                                                               Unliquidated
           PO Box 545                                                          Disputed
           Barnegat Light, NJ 08006-0545
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     1064                           Is the claim subject to offset?   No  Yes
 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                             $0.00
           Allen Halliday                                                      Contingent
                                                                               Unliquidated
           14 Susan Ln                                                         Disputed
           Manahawkin, NJ 08050-4270
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     1098                           Is the claim subject to offset?   No  Yes
 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                             $0.00
           Andrew Pezzarras                                                    Contingent
                                                                               Unliquidated
           Date(s) debt was incurred                                           Disputed
           Last 4 digits of account number     1905                           Basis for the claim:

                                                                              Is the claim subject to offset?   No  Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com                                                       G1580
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 16 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.5      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Arthur Schwarz                                                    Contingent
                                                                            Unliquidated
          111 E North Carolina Ave                                          Disputed
          Long Beach, NJ 08008-3046
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1061                        Is the claim subject to offset?   No  Yes
 3.6      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Barbara Johnstone                                                 Contingent
                                                                            Unliquidated
          PO Box 97                                                         Disputed
          Kenilworth, NJ 07033-0097
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1956                        Is the claim subject to offset?   No  Yes
 3.7      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Betty Chesner                                                     Contingent
                                                                            Unliquidated
          6 Hillwood Dr                                                     Disputed
          Mount Laurel, NJ 08054-6924
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1932                        Is the claim subject to offset?   No  Yes
 3.8      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Brain Bouher                                                      Contingent
                                                                            Unliquidated
          6 Cobblestone Ct                                                  Disputed
          Glen Mills, PA 19342-1775
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1039                        Is the claim subject to offset?   No  Yes
 3.9      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Brian Lynch                                                       Contingent
                                                                            Unliquidated
          210 N 11th St                                                     Disputed
          Surf City, NJ 08008-5310
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1047                        Is the claim subject to offset?   No  Yes
 3.10     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Butch Dieckman                                                    Contingent
                                                                            Unliquidated
          491 A Rte # 9P                                                    Disputed
          West Creek, NJ 08092
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1916                        Is the claim subject to offset?   No  Yes
 3.11     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Butch Palazza                                                     Contingent
                                                                            Unliquidated
          161 Shannon Ct                                                    Disputed
          Winchester, VA 22602-2372
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1936                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 17 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.12     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Campbell Johnstone                                                Contingent
                                                                            Unliquidated
          PO Box 97                                                         Disputed
          Kenilworth, NJ 07033-0097
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1056                        Is the claim subject to offset?   No  Yes
 3.13     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Carin Kirkpatrick                                                 Contingent
                                                                            Unliquidated
          PO Box 545                                                        Disputed
          Barnegat Light, NJ 08006-0545
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1964                        Is the claim subject to offset?   No  Yes
 3.14     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Carol Dickson                                                     Contingent
                                                                            Unliquidated
          42 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4222
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1996                        Is the claim subject to offset?   No  Yes
 3.15     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Carol Sanderson                                                   Contingent
                                                                            Unliquidated
          25 Grayhawk Ln                                                    Disputed
          Little Egg Harbor, NJ 08087-4243
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1099                        Is the claim subject to offset?   No  Yes
 3.16     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Carol Stohrer                                                     Contingent
                                                                            Unliquidated
          115 N Ohio Ave                                                    Disputed
          Barnegat Light, NJ 08006
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1902                        Is the claim subject to offset?   No  Yes
 3.17     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Chris Wynkoop                                                     Contingent
                                                                            Unliquidated
          1206 S Bay Ave                                                    Disputed
          Beach Haven, NJ 08008-1516
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1970                        Is the claim subject to offset?   No  Yes
 3.18     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Dane Nugent                                                       Contingent
                                                                            Unliquidated
          5000 Long Beach Blvd                                              Disputed
          Beach Haven, NJ 08008-3932
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1954                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 18 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.19     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Daniel Rauh                                                       Contingent
                                                                            Unliquidated
          2 Alpine Dr                                                       Disputed
          North Haledon, NJ 07508-3116
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1071                        Is the claim subject to offset?   No  Yes
 3.20     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          David Brothers                                                    Contingent
                                                                            Unliquidated
          6 Childsworth Ave                                                 Disputed
          Bernardsville, NJ 07924-2304
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1950                        Is the claim subject to offset?   No  Yes
 3.21     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          David Johnson                                                     Contingent
                                                                            Unliquidated
          35 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1069                        Is the claim subject to offset?   No  Yes
 3.22     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Debbie Esposito                                                   Contingent
                                                                            Unliquidated
          2405 Cadwallader Sonk Rd                                          Disputed
          Cortland, OH 44410-9425
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1904                        Is the claim subject to offset?   No  Yes
 3.23     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Diane Cocozza                                                     Contingent
                                                                            Unliquidated
          38 Bunker Dr                                                      Disputed
          Little Egg Harbor, NJ 08087-2942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1993                        Is the claim subject to offset?   No  Yes
 3.24     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          unknown
          Dolan, Bell & Marsella                                            Contingent
          Certified Public Accountants                                      Unliquidated
          24 Nautilus Dr Ste 9-10                                           Disputed
          Manahawkin, NJ 08050-2490
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.25     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Dolores Diaz                                                      Contingent
                                                                            Unliquidated
          90 Eazst Milan Blvd                                               Disputed
          Farmingdale, NJ 07727
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1040                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 19 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.26     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Donald Burnaford                                                  Contingent
                                                                            Unliquidated
          6405 A Long Beach Blvd                                            Disputed
          Harvey Cedars, NJ 08008
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1088                        Is the claim subject to offset?   No  Yes
 3.27     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Donald Wynkoop                                                    Contingent
                                                                            Unliquidated
          1206 S Bay Ave                                                    Disputed
          Beach Haven, NJ 08008-1516
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1070                        Is the claim subject to offset?   No  Yes
 3.28     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Donna Toledo                                                      Contingent
                                                                            Unliquidated
          42 Bunker Dr                                                      Disputed
          Little Egg Harbor, NJ 08087-2942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1927                        Is the claim subject to offset?   No  Yes
 3.29     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Dorasani Reddy                                                    Contingent
                                                                            Unliquidated
          149 Kristine Ave                                                  Disputed
          Manahawkin, NJ 08050-7811
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1907                        Is the claim subject to offset?   No  Yes
 3.30     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ed Balzarotti                                                     Contingent
                                                                            Unliquidated
          32 Murphy Cir                                                     Disputed
          Florham Park, NJ 07932-2012
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1025                        Is the claim subject to offset?   No  Yes
 3.31     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Edward Naughton                                                   Contingent
                                                                            Unliquidated
          52 Lafayette Dr                                                   Disputed
          Manahawkin, NJ 08050-2907
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1020                        Is the claim subject to offset?   No  Yes
 3.32     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Edward Zebrowski                                                  Contingent
                                                                            Unliquidated
          358 W 10th St                                                     Disputed
          Ship Bottom, NJ 08008-6308
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1006                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 20 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.33     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Edward Zolcinski                                                  Contingent
                                                                            Unliquidated
          42 Schindler Ct                                                   Disputed
          Upper Saddle River, NJ 07458-2362
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1081                        Is the claim subject to offset?   No  Yes
 3.34     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.          unknown
          Eileen Dolan                                                      Contingent
                                                                            Unliquidated
          373 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4227
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1023                        Is the claim subject to offset?   No  Yes
 3.35     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Elaine Turken                                                     Contingent
                                                                            Unliquidated
          161 Flamingo Rd                                                   Disputed
          Tuckerton, NJ 08087-2408
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1951                        Is the claim subject to offset?   No  Yes
 3.36     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ellen Conners                                                     Contingent
                                                                            Unliquidated
          13 Links Ln                                                       Disputed
          Little Egg Harbor, NJ 08087-4249
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1978                        Is the claim subject to offset?   No  Yes
 3.37     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Frank Bode                                                        Contingent
                                                                            Unliquidated
          66 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4222
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1036                        Is the claim subject to offset?   No  Yes
 3.38     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Frederick Collins                                                 Contingent
                                                                            Unliquidated
          273 Grove St                                                      Disputed
          Woodbridge, NJ 07095-1627
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1066                        Is the claim subject to offset?   No  Yes
 3.39     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          George Ruotolo                                                    Contingent
                                                                            Unliquidated
          2409 Central Ave                                                  Disputed
          Ship Bottom, NJ 08008-4234
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1087                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 21 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.40     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Gregg Carlovich                                                   Contingent
                                                                            Unliquidated
          15 Central Park W Apt 6P                                          Disputed
          New York, NY 10023-7711
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1085                        Is the claim subject to offset?   No  Yes
 3.41     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          James Cadmus                                                      Contingent
                                                                            Unliquidated
          13 Kings Cir                                                      Disputed
          Malvern, PA 19355-2001
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1044                        Is the claim subject to offset?   No  Yes
 3.42     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          James Fisher                                                      Contingent
                                                                            Unliquidated
          10 Pheasant Run                                                   Disputed
          Clarksburg, NJ 08510-1709
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1035                        Is the claim subject to offset?   No  Yes
 3.43     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          James Fisher Jr.                                                  Contingent
                                                                            Unliquidated
          10 Pheasant Run                                                   Disputed
          Clarksburg, NJ 08510-1709
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1935                        Is the claim subject to offset?   No  Yes
 3.44     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Janet Wolf                                                        Contingent
                                                                            Unliquidated
          461 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4229
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1941                        Is the claim subject to offset?   No  Yes
 3.45     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jason Montelelone                                                 Contingent
                                                                            Unliquidated
          512 Ridgefield Rd                                                 Disputed
          Wilton, CT 06897-1926
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1060                        Is the claim subject to offset?   No  Yes
 3.46     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jean Lusardo                                                      Contingent
                                                                            Unliquidated
          207 Jeremy Ln                                                     Disputed
          Manahawkin, NJ 08050-3634
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1922                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 7 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 22 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.47     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jim Thoma                                                         Contingent
                                                                            Unliquidated
          717 Philadelphia Blvd                                             Disputed
          Sea Girt, NJ 08750-2514
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1933                        Is the claim subject to offset?   No  Yes
 3.48     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Joanne Prosky                                                     Contingent
                                                                            Unliquidated
          13 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1991                        Is the claim subject to offset?   No  Yes
 3.49     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Adamiak                                                      Contingent
                                                                            Unliquidated
          1068 H Long Breach Blvd                                           Disputed
          Beach Haven, NJ 08008
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1068                        Is the claim subject to offset?   No  Yes
 3.50     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Arizzi                                                       Contingent
                                                                            Unliquidated
          22 Bunker Dr                                                      Disputed
          Little Egg Harbor, NJ 08087-2942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1097                        Is the claim subject to offset?   No  Yes
 3.51     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Buerkle                                                      Contingent
                                                                            Unliquidated
          352 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4230
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1086                        Is the claim subject to offset?   No  Yes
 3.52     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Carlovich                                                    Contingent
                                                                            Unliquidated
          15 Central Park W Apt 6P                                          Disputed
          New York, NY 10023-7711
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1985                        Is the claim subject to offset?   No  Yes
 3.53     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Harden                                                       Contingent
                                                                            Unliquidated
          29 Woodlane Rd                                                    Disputed
          Lawrence Township, NJ 08648-1055
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1082                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 8 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 23 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.54     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Harden Jr                                                    Contingent
                                                                            Unliquidated
          319 Monroe St Apt 1                                               Disputed
          Hoboken, NJ 07030-7665
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1982                        Is the claim subject to offset?   No  Yes
 3.55     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Minnella                                                     Contingent
                                                                            Unliquidated
          335 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4225
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1095                        Is the claim subject to offset?   No  Yes
 3.56     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jon Conahan                                                       Contingent
                                                                            Unliquidated
          15820 Savona Way                                                  Disputed
          Naples, FL 34110-2700
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1034                        Is the claim subject to offset?   No  Yes
 3.57     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Joseph G. Kiely                                                   Contingent
                                                                            Unliquidated
          27 Johns Dr                                                       Disputed
          Warren, NJ 07059-3006
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1042                        Is the claim subject to offset?   No  Yes
 3.58     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.       $3,000,000.00
          Joseph Mezzina                                                    Contingent
                                                                            Unliquidated
          72 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4222
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?   No  Yes
 3.59     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Joseph Watters                                                    Contingent
                                                                            Unliquidated
          49 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1075                        Is the claim subject to offset?   No  Yes
 3.60     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Julie Swarts                                                      Contingent
                                                                            Unliquidated
          34 Bunker Dr                                                      Disputed
          Little Egg Harbor, NJ 08087-2942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1924                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 9 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 24 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.61     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Karen Buerkle                                                     Contingent
                                                                            Unliquidated
          352 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4230
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1986                        Is the claim subject to offset?   No  Yes
 3.62     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Karen Rauh                                                        Contingent
                                                                            Unliquidated
          2 Alpine Dr                                                       Disputed
          North Haledon, NJ 07508-3116
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1971                        Is the claim subject to offset?   No  Yes
 3.63     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Kathleen Cameron                                                  Contingent
                                                                            Unliquidated
          18 Cypress Ct                                                     Disputed
          Little Egg Harbor, NJ 08087-4231
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1976                        Is the claim subject to offset?   No  Yes
 3.64     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Kathleen Guarino                                                  Contingent
                                                                            Unliquidated
          3 Downe Cir                                                       Disputed
          Medford, NJ 08055-3331
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1090                        Is the claim subject to offset?   No  Yes
 3.65     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Kathryn Adamiak                                                   Contingent
                                                                            Unliquidated
          1068 H Long Breach Blvd                                           Disputed
          Beach Haven, NJ 08008
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1968                        Is the claim subject to offset?   No  Yes
 3.66     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Kathy Halliday                                                    Contingent
                                                                            Unliquidated
          14 Susan Ln                                                       Disputed
          Manahawkin, NJ 08050-4270
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1998                        Is the claim subject to offset?   No  Yes
 3.67     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Kevin Hogan                                                       Contingent
                                                                            Unliquidated
          1907 Ocean Ave # Aenue                                            Disputed
          Surf City, NJ 08008-5443
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1946                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 25 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.68     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Larry Cameron                                                     Contingent
                                                                            Unliquidated
          18 Cypress Ct                                                     Disputed
          Little Egg Harbor, NJ 08087-4231
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1076                        Is the claim subject to offset?   No  Yes
 3.69     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Larry Wallace                                                     Contingent
                                                                            Unliquidated
          90 Sunlit Dr                                                      Disputed
          Watchung, NJ 07069-6219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1055                        Is the claim subject to offset?   No  Yes
 3.70     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Linda Gamble                                                      Contingent
                                                                            Unliquidated
          311 Orchard Way                                                   Disputed
          Wayne, PA 19087-4833
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1917                        Is the claim subject to offset?   No  Yes
 3.71     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Linda Rawlins                                                     Contingent
                                                                            Unliquidated
          286 Holcombe Way                                                  Disputed
          Lambertville, NJ 08530-2227
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1977                        Is the claim subject to offset?   No  Yes
 3.72     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Lori Moscato                                                      Contingent
                                                                            Unliquidated
          41 Hamble Rd                                                      Disputed
          Little Egg Harbor, NJ 08087-3667
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1994                        Is the claim subject to offset?   No  Yes
 3.73     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Margaret Felix                                                    Contingent
                                                                            Unliquidated
          436 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4232
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1953                        Is the claim subject to offset?   No  Yes
 3.74     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Marilyn Colucci                                                   Contingent
                                                                            Unliquidated
          361 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4227
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1926                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 11 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 26 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.75     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Mark Balzarotti                                                   Contingent
                                                                            Unliquidated
          6 Atlas Rd                                                        Disputed
          Basking Ridge, NJ 07920-2206
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1925                        Is the claim subject to offset?   No  Yes
 3.76     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Mark Prosky                                                       Contingent
                                                                            Unliquidated
          13 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1091                        Is the claim subject to offset?   No  Yes
 3.77     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Mary Jane Watters                                                 Contingent
                                                                            Unliquidated
          49 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1975                        Is the claim subject to offset?   No  Yes
 3.78     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Michael Bayles                                                    Contingent
                                                                            Unliquidated
          209 Glen Arden Dr                                                 Disputed
          Fairfield, CT 06824-3901
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1931                        Is the claim subject to offset?   No  Yes
 3.79     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Michael Boucher                                                   Contingent
                                                                            Unliquidated
          405 Timberl Ln                                                    Disputed
          Newtown Square, PA 19073
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1939                        Is the claim subject to offset?   No  Yes
 3.80     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Michael Cocozza                                                   Contingent
                                                                            Unliquidated
          38 Bunker Dr                                                      Disputed
          Little Egg Harbor, NJ 08087-2942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1093                        Is the claim subject to offset?   No  Yes
 3.81     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Michael Lusardo                                                   Contingent
                                                                            Unliquidated
          207 Jeremy Ln                                                     Disputed
          Manahawkin, NJ 08050-3634
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1022                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 12 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 27 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.82     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Michael Monteleone                                                Contingent
                                                                            Unliquidated
          309 E 87th St Apt 6                                               Disputed
          New York, NY 10128-4809
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1960                        Is the claim subject to offset?   No  Yes
 3.83     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Michael Sullivan                                                  Contingent
                                                                            Unliquidated
          1118 E Long Beach Blvd                                            Disputed
          North Beach, NJ 08008
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1029                        Is the claim subject to offset?   No  Yes
 3.84     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Michael Zisman                                                    Contingent
                                                                            Unliquidated
          311 Orchard Way                                                   Disputed
          Wayne, PA 19087-4833
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1017                        Is the claim subject to offset?   No  Yes
 3.85     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Nancy Lynch                                                       Contingent
                                                                            Unliquidated
          210 N 11th St                                                     Disputed
          Surf City, NJ 08008-5310
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1947                        Is the claim subject to offset?   No  Yes
 3.86     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Nancy Wallace                                                     Contingent
                                                                            Unliquidated
          90 Sunlit Dr                                                      Disputed
          Watchung, NJ 07069-6219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1955                        Is the claim subject to offset?   No  Yes
 3.87     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Patrick Dolan                                                     Contingent
                                                                            Unliquidated
          237 Barnsboro Rd                                                  Disputed
          Sewell, NJ 08080-4503
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1923                        Is the claim subject to offset?   No  Yes
 3.88     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Patrick Esposito                                                  Contingent
                                                                            Unliquidated
          2405 Cadwallader Sonk Rd                                          Disputed
          Cortland, OH 44410-9425
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1004                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 13 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 28 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.89     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Patrick Hogan                                                     Contingent
                                                                            Unliquidated
          1907 Ocean Ave # Aenue                                            Disputed
          Surf City, NJ 08008-5443
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1046                        Is the claim subject to offset?   No  Yes
 3.90     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Patrick Minnella                                                  Contingent
                                                                            Unliquidated
          192 Liberty Ave                                                   Disputed
          Manahawkin, NJ 08050-1915
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1995                        Is the claim subject to offset?   No  Yes
 3.91     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Paula Doll                                                        Contingent
                                                                            Unliquidated
          6324 Long Beach Blvd                                              Disputed
          Harvey Cedars, NJ 08008-5758
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1903                        Is the claim subject to offset?   No  Yes
 3.92     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Peter Swarts                                                      Contingent
                                                                            Unliquidated
          34 Bunker Dr                                                      Disputed
          Little Egg Harbor, NJ 08087-2942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1024                        Is the claim subject to offset?   No  Yes
 3.93     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ralph Moscato                                                     Contingent
                                                                            Unliquidated
          41 Hamble Rd                                                      Disputed
          Little Egg Harbor, NJ 08087-3667
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1094                        Is the claim subject to offset?   No  Yes
 3.94     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ramond Rawlins                                                    Contingent
                                                                            Unliquidated
          286 Holcombe Way                                                  Disputed
          Lambertville, NJ 08530-2227
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1077                        Is the claim subject to offset?   No  Yes
 3.95     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Richard Lindquist                                                 Contingent
                                                                            Unliquidated
          333 E 91st St Apt 6P                                              Disputed
          New York, NY 10128-5895
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1001                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 14 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 29 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.96     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Richard Pollard                                                   Contingent
                                                                            Unliquidated
          4 John St                                                         Disputed
          Little Egg Harbor, NJ 08087-9615
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1021                        Is the claim subject to offset?   No  Yes
 3.97     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Richard Toledo                                                    Contingent
                                                                            Unliquidated
          42 Bunker Dr                                                      Disputed
          Little Egg Harbor, NJ 08087-2942
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1027                        Is the claim subject to offset?   No  Yes
 3.98     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Conners                                                    Contingent
                                                                            Unliquidated
          13 Links Ln                                                       Disputed
          Little Egg Harbor, NJ 08087-4249
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1078                        Is the claim subject to offset?   No  Yes
 3.99     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Kirtcher                                                   Contingent
                                                                            Unliquidated
          5 W Lillie Ave                                                    Disputed
          Beach Haven, NJ 08008-3131
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1048                        Is the claim subject to offset?   No  Yes
 3.100    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Nugent                                                     Contingent
                                                                            Unliquidated
          5000 Long Beach Blvd                                              Disputed
          Beach Haven, NJ 08008-3932
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1054                        Is the claim subject to offset?   No  Yes
 3.101    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Stohrer                                                    Contingent
                                                                            Unliquidated
          115 N Ohio Ave                                                    Disputed
          Barnegat Light, NJ 08006
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1002                        Is the claim subject to offset?   No  Yes
 3.102    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Thoma                                                      Contingent
                                                                            Unliquidated
          651 Oriskany Ct                                                   Disputed
          Osprey, FL 34229-9379
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1033                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 15 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 30 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.103    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Turken                                                     Contingent
                                                                            Unliquidated
          161 Flamingo Rd                                                   Disputed
          Tuckerton, NJ 08087-2408
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1051                        Is the claim subject to offset?   No  Yes
 3.104    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Wolf                                                       Contingent
                                                                            Unliquidated
          461 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4229
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1041                        Is the claim subject to offset?   No  Yes
 3.105    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Robert Woods                                                      Contingent
                                                                            Unliquidated
          408 Championship Way                                              Disputed
          Moorestown, NJ 08057-3993
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1011                        Is the claim subject to offset?   No  Yes
 3.106    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rose Marie Davidson                                               Contingent
                                                                            Unliquidated
          135 E Ryerson Ln                                                  Disputed
          Beach Haven, NJ 08008-2866
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1974                        Is the claim subject to offset?   No  Yes
 3.107    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rosemaur Leonardo                                                 Contingent
                                                                            Unliquidated
          67 Cedars Ave                                                     Disputed
          Harvey Cedars, NJ 08008-5720
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1092                        Is the claim subject to offset?   No  Yes
 3.108    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Saibaba Reddy                                                     Contingent
                                                                            Unliquidated
          149 Kristine Ave                                                  Disputed
          Manahawkin, NJ 08050-7811
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1007                        Is the claim subject to offset?   No  Yes
 3.109    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Sandra Johnson                                                    Contingent
                                                                            Unliquidated
          35 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4219
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1969                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 16 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 31 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.110    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Scott Pezarras                                                    Contingent
                                                                            Unliquidated
          1099 Verdant Rd                                                   Disputed
          Toms River, NJ 08753-3533
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1005                        Is the claim subject to offset?   No  Yes
 3.111    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Shawn Weeks                                                       Contingent
                                                                            Unliquidated
          8 York Dr                                                         Disputed
          Helmetta, NJ 08828-1161
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1089                        Is the claim subject to offset?   No  Yes
 3.112    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Shawn Weeks. Jr.                                                  Contingent
                                                                            Unliquidated
          8 York Dr                                                         Disputed
          Helmetta, NJ 08828-1161
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1989                        Is the claim subject to offset?   No  Yes
 3.113    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Stephen Dora                                                      Contingent
                                                                            Unliquidated
          Date(s) debt was incurred                                         Disputed
          Last 4 digits of account number      1940                        Basis for the claim:

                                                                           Is the claim subject to offset?   No  Yes
 3.114    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Suzanne Conahan                                                   Contingent
                                                                            Unliquidated
          15820 Savona Way                                                  Disputed
          Naples, FL 34110-2700
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1934                        Is the claim subject to offset?   No  Yes
 3.115    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Suzanne Linquist                                                  Contingent
                                                                            Unliquidated
          333 E 91st St Apt 6P                                              Disputed
          New York, NY 10128-5895
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1901                        Is the claim subject to offset?   No  Yes
 3.116    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Thomas Dickson                                                    Contingent
                                                                            Unliquidated
          42 Golf View Dr                                                   Disputed
          Little Egg Harbor, NJ 08087-4222
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1096                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 17 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 32 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                 Case number (if known)
             Name

 3.117    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Thomas Lockburner                                                 Contingent
                                                                            Unliquidated
          55 Murphy Cir                                                     Disputed
          Florham Park, NJ 07932-2010
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1031                        Is the claim subject to offset?   No  Yes
 3.118    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Thoms Brothers                                                    Contingent
                                                                            Unliquidated
          2 S Central Ave                                                   Disputed
          Beach Haven, NJ 08008-4844
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1050                        Is the claim subject to offset?   No  Yes
 3.119    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Timothy Doll                                                      Contingent
                                                                            Unliquidated
          268 Forge Rd                                                      Disputed
          West Creek, NJ 08092-9309
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1003                        Is the claim subject to offset?   No  Yes
 3.120    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Timothy Weeks                                                     Contingent
                                                                            Unliquidated
          44 Hyer Ct                                                        Disputed
          Aberdeen, NJ 07747-1252
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1083                        Is the claim subject to offset?   No  Yes
 3.121    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          Wilaim Davidson                                                   Contingent
                                                                            Unliquidated
          135 E Ryerson Ln                                                  Disputed
          Beach Haven, NJ 08008-2866
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1074                        Is the claim subject to offset?   No  Yes
 3.122    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          William Chesner                                                   Contingent
                                                                            Unliquidated
          6 Hillwood Dr                                                     Disputed
          Mount Laurel, NJ 08054-6924
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1032                        Is the claim subject to offset?   No  Yes
 3.123    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $0.00
          William Felix                                                     Contingent
                                                                            Unliquidated
          436 Golf View Dr                                                  Disputed
          Little Egg Harbor, NJ 08087-4232
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number      1053                        Is the claim subject to offset?   No  Yes




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 18 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                             Desc Main
                                                           Document     Page 33 of 180
 Debtor       Sea Oaks Golf Club, LLC                                                                Case number (if known)
              Name

 3.124     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                      $0.00
           William Henning                                                  Contingent
                                                                            Unliquidated
           260 Matey Ave                                                    Disputed
           Manahawkin, NJ 08050-2233
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     1028                        Is the claim subject to offset?   No  Yes
 3.125     Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                      $0.00
           William Stanbach                                                 Contingent
                                                                            Unliquidated
           2220 West Ave                                                    Disputed
           Beach Haven, NJ 08008-1349
                                                                           Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number     1030                        Is the claim subject to offset?   No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.        $                            0.00
 5b. Total claims from Part 2                                                                          5b.    +   $                    3,000,000.00
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                               5c.        $                       3,000,000.00




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 19 of 19
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                 Desc Main
                                                           Document     Page 34 of 180
          Fill in this information to identify the case:

 Debtor name        Sea Oaks Golf Club, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Abby Guider
               List the contract number of                                             1958 Breakers Dr
                any government contract                     7518                       Barnegat, NJ 08005-2646


 2.2.        State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Adam Doren
               List the contract number of                                             1027 Garden St
                any government contract                     2003                       Hoboken, NJ 07030-4302


 2.3.        State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Alan Lee
               List the contract number of                                             311 Center St
                any government contract                     2027                       Manahawkin, NJ 08050-3120


 2.4.        State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Alan Sauer
               List the contract number of                                             6 Maple Ave
                any government contract                     7735                       Barnegat, NJ 08005-2306




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 35 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Albert Silvestri
               List the contract number of                                             423 Middle Branch Dr
                any government contract                     08731                      Forked River, NJ 08731-4941


 2.6.        State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Angelo Mureo
               List the contract number of                                             8 Creekview Rd
                any government contract                     2081                       Barnegat, NJ 08005-2434


 2.7.        State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Angelo W. Lovallo
               List the contract number of                                             337 Golf View Dr
                any government contract                     3506                       Little Egg Harbor, NJ 08087-4225


 2.8.        State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Ann Davidson
               List the contract number of                                             324 Golf View Dr
                any government contract                     7772                       Little Egg Harbor, NJ 08087-4230


 2.9.        State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Anthony Macahilig
               List the contract number of                                             314 Princeton Rd
                any government contract                     2013                       Linden, NJ 07036-5502


 2.10.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                       Anthony Rischitell
                 State the term remaining                                              15 Aldom Cir
                                                                                       West Caldwell, NJ 07006-7414


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 36 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2058


 2.11.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Anthony Troisi
               List the contract number of                                             1104 Oahu Dr
                any government contract                     3002                       Forked River, NJ 08731-4701


 2.12.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Anthony Viscito
               List the contract number of                                             39 Eastern Pkwy
                any government contract                     2113                       Caldwell, NJ 07006-7215


 2.13.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Archer Katz
               List the contract number of                                             151 Birchwood Rd
                any government contract                     2126                       Old Tappan, NJ 07675-6810


 2.14.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       arthur Kukoda
               List the contract number of                                             33 Maple St
                any government contract                     7733                       Spotswood, NJ 08884-2109


 2.15.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Austin Gobo
               List the contract number of                                             331 E 9th St Apt 3
                any government contract                     2152                       New York, NY 10003-7721




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 3 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 37 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.16.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Barbara Bailey
               List the contract number of                                             25 Highland Dr
                any government contract                     2156                       Manahawkin, NJ 08050-5440


 2.17.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Barbara Borinsky
               List the contract number of                                             318 Golf View Dr
                any government contract                     7723                       Tuckerton, NJ 08087-4230


 2.18.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Barbara Cogswell
               List the contract number of                                             50 Windstar Dr
                any government contract                     2097                       Little Egg Harbor, NJ 08087-1678


 2.19.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Better A. Bauer
               List the contract number of                                             23 Masters Ct
                any government contract                     7715                       Little Egg Harbor, NJ 08087-2904


 2.20.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Betty Joyce Meye
               List the contract number of                                             10 Bunker Dr
                any government contract                     7710                       Little Egg Harbor, NJ 08087-2942


 2.21.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                       Bill Decker
                 State the term remaining                                              123 Golf View Dr
                                                                                       Little Egg Harbor, NJ 08087-4223


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 4 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 38 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     3541


 2.22.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Bill Rafferty
               List the contract number of                                             18 Denville St
                any government contract                     2069                       Barnegat, NJ 08005-2503


 2.23.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Bill Upton
               List the contract number of                                             303 Terrace Ave
                any government contract                     2021                       Toms River, NJ 08753-7729


 2.24.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Bob Terrigno
               List the contract number of                                             47 Sunnycrest Dr
                any government contract                     7745                       Brick, NJ 08724-3654


 2.25.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Bonnie Merkel
               List the contract number of                                             56 Golf View Dr
                any government contract                     7709                       Little Egg Harbor, NJ 08087-4222


 2.26.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Bonnie W Davis
               List the contract number of                                             PO Box 389
                any government contract                     2083                       Barnegat Light, NJ 08006




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 5 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 39 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.27.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Bradley Hewitt
               List the contract number of                                             151 Darryl Dr
                any government contract                     2070                       Little Egg Harbor, NJ 08087-9768


 2.28.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Brandon Tyhanic
               List the contract number of                                             16 Pembrook Ct
                any government contract                     7526                       Little Egg Harbor, NJ 08087-3923


 2.29.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Brian Brady
               List the contract number of                                             22 Timber Ln
                any government contract                     7756                       West Creek, NJ 08092-9677


 2.30.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Brian Havrilak
               List the contract number of                                             233 Aberdeen Ave
                any government contract                     2116                       Exton, PA 19341-2720


 2.31.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Brian Klements
               List the contract number of                                             163 Giffordtown Ln
                any government contract                     7521                       Little Egg Harbor, NJ 08087-9603


 2.32.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest
                                                                                       Brian Silvestri
                 State the term remaining                                              423 Middle Branch Dr
                                                                                       Forked River, NJ 08731-4941


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 6 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 40 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     7539


 2.33.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Brian Varley
               List the contract number of                                             1420 Ocean Way Apt 3A
                any government contract                     7747                       Jupiter, FL 33477-7271


 2.34.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Bruce Seaman
               List the contract number of                                             PO Box 8243
                any government contract                     3007                       Trenton, NJ 08650-0243


 2.35.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Bruce Stiers
               List the contract number of                                             365 Golf View Dr
                any government contract                     2039                       Little Egg Harbor, NJ 08087-4227


 2.36.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       C J Mack
               List the contract number of                                             220 Centre St Fl 2
                any government contract                     7751                       Beach Haven, NJ 08008-1714


 2.37.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Caitlin Guider
               List the contract number of                                             1958 Breakers Dr
                any government contract                     7516                       Barnegat, NJ 08005-2646




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 7 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 41 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.38.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Candy Guider
               List the contract number of                                             1958 Breakers Dr
                any government contract                     7514                       Barnegat, NJ 08005-2646


 2.39.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Carmen Mack
               List the contract number of                                             1 W 29th Street Long Bch
                any government contract                     7729                       Beach Haven, NJ 08008


 2.40.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Carol Terrigno
               List the contract number of                                             47 Sunnycrest Dr
                any government contract                     7746                       Brick, NJ 08724-3654


 2.41.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Cassie Brady
               List the contract number of                                             22 Timber Ln
                any government contract                     7755                       West Creek, NJ 08092-9677


 2.42.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Charles McGinley
               List the contract number of                                             412 Liberty Ave
                any government contract                     7748                       Beach Haven, NJ 08008-1455


 2.43.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Charles Peterson
                 State the term remaining                                              285 Nautilus Dr
                                                                                       Manahawkin, NJ 08050-2240


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 8 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 42 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2134


 2.44.       State what the contract or                     Family Membersip
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Chris Guider
               List the contract number of                                             1958 Breakers Dr
                any government contract                     7502                       Barnegat, NJ 08005-2646


 2.45.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Chris Guider, jr.
               List the contract number of                                             1958 Breakers Dr
                any government contract                     7515                       Barnegat, NJ 08005-2646


 2.46.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Christopher Yax
               List the contract number of                                             29 Bunker Dr
                any government contract                     7763                       Little Egg Harbor, NJ 08087-2940


 2.47.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Cindy Ludwig
               List the contract number of                                             730 Hill St
                any government contract                     2060                       Lanoka Harbor, NJ 08734-1734


 2.48.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Dan Biloram
               List the contract number of                                             190 Nolan Ave
                any government contract                     2102                       Bayville, NJ 08721-3475




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 9 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 43 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.49.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Dan Strongarone
               List the contract number of                                             45 Chatham Rd
                any government contract                     7706                       Little Egg Harbor, NJ 08087-3661


 2.50.       State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Dan Wyrsch
               List the contract number of                                             310 Bayberry Ct
                any government contract                     6017                       West Creek, NJ 08092-2834


 2.51.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Daniel C Cummings
               List the contract number of                                             185 Parkertown Dr
                any government contract                     2050                       Little Egg Harbor, NJ 08087-9711


 2.52.       State what the contract or                     Annual SIngle Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Daniel J Crank
               List the contract number of                                             221 Montclair Rd S
                any government contract                     2095                       Barnegat, NJ 08005-2614


 2.53.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                              Daniel J Schreck
                                                                                       Schreck Bavaro & Co
               List the contract number of                                             10 N Park Pl Ste 530
                any government contract                     2026                       Morristown, NJ 07960-7101


 2.54.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Daniel N Sanzo
                 State the term remaining                                              853 Buccaneer Ln
                                                                                       Manahawkin, NJ 08050-2111


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 10 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                        Desc Main
                                                           Document     Page 44 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                             Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

               List the contract number of
                any government contract                     2103


 2.55.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      Daniel Richardson
               List the contract number of                                            71 Galley Way
                any government contract                     3057                      Little Egg Harbor, NJ 08087-3664


 2.56.       State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                      Dave Wyrsch Jr
               List the contract number of                                            110 Autumn Oak Ln
                any government contract                     6018                      Manahawkin, NJ 08050-2578


 2.57.       State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                      David L Wyrsch
               List the contract number of                                            1068 Whispering Oak Ln
                any government contract                     6019                      Manahawkin, NJ 08050-2632


 2.58.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                      David Lane
               List the contract number of                                            805 16th Ave Apt 2
                any government contract                     7762                      Belmar, NJ 07719-2810


 2.59.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      David Laney
               List the contract number of                                            35 Sea Breeze Dr
                any government contract                     7530                      Little Egg Harbor, NJ 08087-9765




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                  Page 11 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 45 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.60.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       David R Young
               List the contract number of                                             41 Lighthouse Way
                any government contract                     2137                       Beach Haven, NJ 08008-6122


 2.61.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       David Roskos
               List the contract number of                                             58 Foster Road Pennington Rd
                any government contract                     7730                       Pennington, NJ 08534


 2.62.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       David S Ginsburg
               List the contract number of                                             55 W California Ave
                any government contract                     2043                       Long Beach Township, NJ 08008-3232


 2.63.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       David Stout
               List the contract number of                                             12 Rapids Ct
                any government contract                     3026                       Barnegat, NJ 08005-5571


 2.64.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       David Wallinger
               List the contract number of                                             151 Barracuda Rd
                any government contract                     2151                       Manahawkin, NJ 08050-1202


 2.65.       State what the contract or                     Annusl Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Debbie Leonard
                 State the term remaining                                              730 Hill St
                                                                                       Lanoka Harbor, NJ 08734-1734


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 12 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 46 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2061


 2.66.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Dennis Daniels
               List the contract number of                                             1312 Lancewood Ter
                any government contract                     2073                       Palm City, FL 34990-8051


 2.67.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Dennis M Filippon
               List the contract number of                                             209 Arborridge Dr
                any government contract                     3005                       Forked River, NJ 08731-1084


 2.68.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Dennis Mondelli
               List the contract number of                                             37 Deer Run Dr N
                any government contract                     2115                       Barnegat, NJ 08005-2032


 2.69.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Dennis N Longstre
               List the contract number of                                             6946 SE Harbor Cir
                any government contract                     2158                       Stuart, FL 34996-1915


 2.70.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Derek R Stanton
               List the contract number of                                             8 Grayhawk Ln
                any government contract                     7739                       Little Egg Harbor, NJ 08087-4240




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 13 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 47 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.71.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Don Kakstis
               List the contract number of                                             16 5th St
                any government contract                     2124                       Beach Haven, NJ 08008-1962


 2.72.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Donald Leese
               List the contract number of                                             366 Golf View Dr
                any government contract                     3025                       Little Egg Harbor, NJ 08087-4230


 2.73.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Donald Maurer
               List the contract number of                                             10 Galley Way
                any government contract                     2048                       Little Egg Harbor, NJ 08087-3663


 2.74.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Dustin Bodony
               List the contract number of                                             10 Longworth Ct
                any government contract                     7513                       West Creek, NJ 08092-2831


 2.75.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Ed Lemire
               List the contract number of                                             252 Newport Way
                any government contract                     2164                       Little Egg Harbor, NJ 08087-3650


 2.76.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                       Edward Malone
                 State the term remaining                                              19 Golf View Dr
                                                                                       Little Egg Harbor, NJ 08087-4219


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 14 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 48 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     3038


 2.77.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Edward Walsh
               List the contract number of                                             4 Biabou Dr
                any government contract                     2122                       Toms River, NJ 08757-3733


 2.78.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Eileen Kelly
               List the contract number of                                             116 Albert Dr
                any government contract                     7765                       Manahawkin, NJ 08050-4504


 2.79.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Emery Dupuis
               List the contract number of                                             7 Shoemaker Rd
                any government contract                     2065                       Manalapan, NJ 07726-6016


 2.80.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Eric Hansen
               List the contract number of                                             389 S Green St
                any government contract                     2029                       Tuckerton, NJ 08087-2526


 2.81.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Eric Swain
               List the contract number of                                             1022 Midship Ave
                any government contract                     7736                       Manahawkin, NJ 08050-2338




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 15 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 49 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.82.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Erik Jurgensen
               List the contract number of                                             155 Ravenwood Blvd
                any government contract                     2140                       Barnegat, NJ 08005-2203


 2.83.       State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Erin Guider
               List the contract number of                                             1958 Breakers Dr
                any government contract                     7517                       Barnegat, NJ 08005-2646


 2.84.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Ester Tomasette
               List the contract number of                                             120 E 21st St
                any government contract                     7724                       Beach Haven, NJ 08008


 2.85.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Frank Janda
               List the contract number of                                             1330 Lee Way
                any government contract                     7741                       Forked River, NJ 08731-4123


 2.86.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Frank Peters
               List the contract number of                                             668 Loxley Dr
                any government contract                     7738                       Toms River, NJ 08753-4384


 2.87.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Frank Zurica
                 State the term remaining                                              911 Travis Ave
                                                                                       Staten Island, NY 10314-5707


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 16 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 50 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2001


 2.88.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Fred Santos
               List the contract number of                                             2273 Old Church Rd
                any government contract                     2131                       Toms River, NJ 08753-8156


 2.89.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Gail Lavrentiev
               List the contract number of                                             28 Golf View Dr
                any government contract                     7727                       Little Egg Harbor, NJ 08087-4222


 2.90.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Gateion Canonico
               List the contract number of                                             15 Masters Ct
                any government contract                     2057                       Little Egg Harbor, NJ 08087-2904


 2.91.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Gene Pepe
               List the contract number of                                             216 Newport Way
                any government contract                     2004                       Little Egg Harbor, NJ 08087-3650


 2.92.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       George Bailey
               List the contract number of                                             25 Highland Dr
                any government contract                     2129                       Manahawkin, NJ 08050-5440




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 17 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                        Desc Main
                                                           Document     Page 51 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                             Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.93.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      George Draeger
               List the contract number of                                            PO Box 4117
                any government contract                     2062                      Wayne, NJ 07474-4117


 2.94.       State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                      George Georgeles
               List the contract number of                                            11 Cypress Ct
                any government contract                     7716                      Little Egg Harbor, NJ 08087-4231


 2.95.       State what the contract or                     Annual Single MEmber
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      George Ondic Jr
               List the contract number of                                            79 Shady Nook Dr
                any government contract                     2037                      Toms River, NJ 08755-5127


 2.96.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      George Petronella
               List the contract number of                                            30 Masters Ct
                any government contract                     3017                      Little Egg Harbor, NJ 08087-2943


 2.97.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      George R. Hyatt
               List the contract number of                                            21 Grayhawk Ln
                any government contract                     3924                      Little Egg Harbor, NJ 08087-4243


 2.98.       State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                      George W Davis
                 State the term remaining                                             PO Box 389
                                                                                      Barnegat Light, NJ 08006


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                  Page 18 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 52 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2084


 2.99.       State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Gerry Ludwig
               List the contract number of                                             730 Hill St
                any government contract                     2107                       Lanoka Harbor, NJ 08734-1734


 2.100.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Ginny Habakus
               List the contract number of                                             7749 SE Spicewood Cir
                any government contract                     3016                       Hobe Sound, FL 33455-8204


 2.101.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Gloria Barnet
               List the contract number of                                             311 Golf View Dr
                any government contract                     7719                       Little Egg Harbor, NJ 08087-4225


 2.102.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Grace Klements
               List the contract number of                                             16 Pembrook Ct
                any government contract                     7526                       Little Egg Harbor, NJ 08087-3923


 2.103.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Gregory J McNally
               List the contract number of                                             27 Warren Ct
                any government contract                     2165                       Manahawkin, NJ 08050-7817




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 19 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 53 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.104.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Herman Pharo
               List the contract number of                                             124 Lanyard Rd
                any government contract                     6012                       Manahawkin, NJ 08050-1619


 2.105.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Howard Shemitz
               List the contract number of                                             60 Butler Dr
                any government contract                     7904                       Barnegat, NJ 08005-2252


 2.106.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Jack Byrnes
               List the contract number of                                             1701 Seaview Ave
                any government contract                     2028                       Barnegat Light, NJ 08006-1504


 2.107.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Jack Tooker
               List the contract number of                                             12 E 14th St
                any government contract                     2159                       Beach Haven, NJ 08008-2212


 2.108.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       James Adams
               List the contract number of                                             25 Rutledge Rd
                any government contract                     2031                       Valhalla, NY 10595-1250


 2.109.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       James Carver
                 State the term remaining                                              612 Batchelor St
                                                                                       Toms River, NJ 08753-6835


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 20 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 54 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2128


 2.110.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       James G. McCaffrey
               List the contract number of                                             14 W 16th St
                any government contract                     7721                       Beach Haven, NJ 08008-2239


 2.111.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       James Gluck
               List the contract number of                                             217 Washington St
                any government contract                     6049                       Toms River, NJ 08753-7567


 2.112.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       James H Hughes
               List the contract number of                                             25 Shoveler Ln
                any government contract                     2055                       Manahawkin, NJ 08050-3178


 2.113.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       James J Connallon
               List the contract number of                                             48 Bunker Dr
                any government contract                     2035                       Little Egg Harbor, NJ 08087-2942


 2.114.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       James J Damato
               List the contract number of                                             24634 Saint Denis Ct
                any government contract                     2123                       Valencia, CA 91355-3500




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 21 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 55 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.115.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       James McNally
               List the contract number of                                             251 Newport Way
                any government contract                     7726                       Little Egg Harbor, NJ 08087-3655


 2.116.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       James Saxton
               List the contract number of                                             413 Riverside Dr
                any government contract                     2161                       Pine Beach, NJ 08741-1144


 2.117.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Jane Zeitschel
               List the contract number of                                             19 Cypress Ct
                any government contract                     2012                       Little Egg Harbor, NJ 08087-4231


 2.118.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Jeff Ervin
               List the contract number of                                             16 Pikes Peak Rd
                any government contract                     2087                       Little Egg Harbor, NJ 08087-9636


 2.119.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Jeff Ray
               List the contract number of                                             535 Locust Point Rd
                any government contract                     2041                       Rumson, NJ 07760-2321


 2.120.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest
                                                                                       Jeff Reilly Jr
                 State the term remaining                                              328 Bayberry Ct
                                                                                       West Creek, NJ 08092-2834


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 22 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 56 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     08092


 2.121.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Jeff Wyrsch
               List the contract number of                                             110 Autumn Oak Ln
                any government contract                     6016                       Manahawkin, NJ 08050-2578


 2.122.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Jeremy DeFilippis
               List the contract number of                                             12 Mea Ln
                any government contract                     2036                       Beach Haven, NJ 08008-3633


 2.123.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Jim Engler
               List the contract number of                                             53 Freedom Hills Dr
                any government contract                     2014                       Barnegat, NJ 08005-1827


 2.124.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Jim Oliveiero
               List the contract number of                                             115 Golf View Dr
                any government contract                     3019                       Little Egg Harbor, NJ 08087-4223


 2.125.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Joe Abakus
               List the contract number of                                             7749 SE Spicewood Cir
                any government contract                     3015                       Hobe Sound, FL 33455-8204




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 23 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 57 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.126.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joe Donabauer
               List the contract number of                                             5 Stafford Ter
                any government contract                     2082                       Parsippany, NJ 07054-4035


 2.127.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joe Ernst
               List the contract number of                                             26 Bunker Dr
                any government contract                     2059                       Little Egg Harbor, NJ 08087-2942


 2.128.      State what the contract or                     Corporate Businiess
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Joe Hutchinson Jr
               List the contract number of                                             31 Eagle Ridge Ln
                any government contract                     6011                       West Creek, NJ 08092-3234


 2.129.      State what the contract or                     Corporate Busniess
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Joe Hutchinson Sr
               List the contract number of                                             3100 Long Beach Blvd
                any government contract                     6010                       Beach Haven, NJ 08008-4129


 2.130.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Joesep Morella
               List the contract number of                                             422 Golf View Dr
                any government contract                     3525                       Little Egg Harbor, NJ 08087-4232


 2.131.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest
                                                                                       Joey Fabian
                 State the term remaining                                              9 Mimi Pl
                                                                                       Manahawkin, NJ 08050-5611


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 24 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 58 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     7524


 2.132.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Joh n Dusko
               List the contract number of                                             235 Newport Way
                any government contract                     7704                       Little Egg Harbor, NJ 08087-3655


 2.133.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       John Botteri
               List the contract number of                                             43 Sycamore Dr
                any government contract                     2017                       Little Egg Harbor, NJ 08087-3311


 2.134.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       John G Shaw
               List the contract number of                                             14 A Long Beach Blvd Long Bch
                any government contract                     7754                       Beach Haven, NJ 08008


 2.135.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       John Gluck
               List the contract number of                                             401 Monmouth Ave
                any government contract                     6051                       Pine Beach, NJ 08741-1607


 2.136.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       John Halliwell
               List the contract number of                                             888 Gerald Dr
                any government contract                     2132                       Toms River, NJ 08753-2807




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 25 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 59 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.137.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       John J Sherman
               List the contract number of                                             26 Timber Ln
                any government contract                     2056                       West Creek, NJ 08092-9677


 2.138.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       John K Schilling
               List the contract number of                                             118 W Holly Ln
                any government contract                     2139                       Tuckerton, NJ 08087-2038


 2.139.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       John O'Reilly
               List the contract number of                                             65 Chatham Rd
                any government contract                     7702                       Little Egg Harbor, NJ 08087-3661


 2.140.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       John P Dugan
               List the contract number of                                             44 Watts Ave
                any government contract                                                Barnegat, NJ 08005-1330


 2.141.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       john P Wheatley
               List the contract number of                                             316 Golf View Dr
                any government contract                     7713                       Little Egg Harbor, NJ 08087-4230


 2.142.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       John Stuebing
                 State the term remaining                                              40 Stagecoach Ct
                                                                                       Little Egg Harbor, NJ 08087-9662


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 26 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 60 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2162


 2.143.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       John Sullivan
               List the contract number of                                             41 Masters Ct
                any government contract                     3035                       Little Egg Harbor, NJ 08087-2904


 2.144.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Joseph Barnet
               List the contract number of                                             311 Golf View Dr
                any government contract                     7718                       Little Egg Harbor, NJ 08087-4225


 2.145.      State what the contract or                     Annual SIngle Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joseph Brancato
               List the contract number of                                             272 Clipper Rd
                any government contract                     2019                       Manahawkin, NJ 08050-1218


 2.146.      State what the contract or                     Anuual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joseph Hanney
               List the contract number of                                             834 Old Farm Rd
                any government contract                     2049                       Point Pleasant Beach, NJ 08742-4048


 2.147.      State what the contract or                     Annuel Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joseph LaManna
               List the contract number of                                             1205 Niihau Dr
                any government contract                     2163                       Forked River, NJ 08731-4702




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 27 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 61 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.148.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joseph LaManna
               List the contract number of                                             1205 Niihau Dr
                any government contract                     2163                       Forked River, NJ 08731-4702


 2.149.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joseph Schwartz
               List the contract number of                                             39 Bunker Dr
                any government contract                     2030                       Little Egg Harbor, NJ 08087-2940


 2.150.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joseph Serico
               List the contract number of                                             160 Bayville Way
                any government contract                     2535                       Waretown, NJ 08758-2735


 2.151.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Joshua Roda
               List the contract number of                                             2401 Bay Vis
                any government contract                     2125                       Surf City, NJ 08008-5500


 2.152.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Jospeh Tomasette
               List the contract number of                                             120 E 21st St
                any government contract                     3058                       Beach Haven, NJ 08008


 2.153.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Judith Ruffo
                 State the term remaining                                              34 Grayhawk Ln
                                                                                       Little Egg Harbor, NJ 08087-4240


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 28 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                        Desc Main
                                                           Document     Page 62 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                             Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

               List the contract number of
                any government contract                     2015


 2.154.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                      Karen Bandosz
               List the contract number of                                            308 Golf View Dr
                any government contract                     7712                      Little Egg Harbor, NJ 08087-4230


 2.155.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      Karen O"Connell
               List the contract number of                                            122 Lakeshore Dr
                any government contract                     3527                      North Palm Beach, FL 33408-3605


 2.156.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Keith Klements
               List the contract number of                                            163 Giffordtown Ln
                any government contract                     7504                      Little Egg Harbor, NJ 08087-9603


 2.157.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Keith Marcoon
               List the contract number of                                            10 Trent Ct
                any government contract                     7528                      Manahawkin, NJ 08050-5617


 2.158.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Keith Tyhanic
               List the contract number of                                            16 Pembrook Ct
                any government contract                     7509                      Little Egg Harbor, NJ 08087-3923




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                  Page 29 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 63 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.159.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Ken Schoene
               List the contract number of                                             27 Masters Ct
                any government contract                     3061                       Little Egg Harbor, NJ 08087-2904


 2.160.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Ken Sullivan
               List the contract number of                                             913 Walnut Rd
                any government contract                     7761                       Manahawkin, NJ 08050


 2.161.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Kenneth Schroen
               List the contract number of                                             102 Joanna Dr
                any government contract                     2142                       Toms River, NJ 08753-5214


 2.162.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Kevin Askew
               List the contract number of                                             39 Harbor Inn Rd
                any government contract                     2143                       Bayville, NJ 08721-3559


 2.163.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Kevin Bergin
               List the contract number of                                             4 E Nebraska Ave
                any government contract                     2063                       Long Beach Township, NJ 08008-3154


 2.164.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Kevin Hartnett
                 State the term remaining                                              42 Landing Dr
                                                                                       Dobbs Ferry, NY 10522-1182


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 30 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 64 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2007


 2.165.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Kevin Laney
               List the contract number of                                             35 Sea Breeze Dr
                any government contract                     7529                       Little Egg Harbor, NJ 08087-9765


 2.166.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Kevin Laney Sr
               List the contract number of                                             35 Sea Breeze Dr
                any government contract                     7510                       Little Egg Harbor, NJ 08087-9765


 2.167.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Kim Nutt
               List the contract number of                                             108 Dune Ln
                any government contract                     7731                       Barnegat, NJ 08005-2903


 2.168.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Kimberly Laney
               List the contract number of                                             35 Sea Breeze Dr
                any government contract                     7531                       Little Egg Harbor, NJ 08087-9765


 2.169.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Larry Gelinas
               List the contract number of                                             116 Demmy Ave
                any government contract                     2160                       Waretown, NJ 08758-2326




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 31 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 65 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.170.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Larry Gever
               List the contract number of                                             11 Starboard Ct
                any government contract                     7758                       Little Egg Harbor, NJ 08087-3662


 2.171.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Larry Leising
               List the contract number of                                             194 Ambermist Way
                any government contract                     2150                       Forked River, NJ 08731-1086


 2.172.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Larry Tevnan
               List the contract number of                                             20 Masters Ct
                any government contract                     3033                       Little Egg Harbor, NJ 08087-2943


 2.173.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Laura J. Colla
               List the contract number of                                             35 Butler Dr
                any government contract                     7749                       Barnegat, NJ 08005-2251


 2.174.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Lawrence H. Hofer
               List the contract number of                                             7 Masters Ct
                any government contract                     3511                       Little Egg Harbor, NJ 08087-2904


 2.175.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest
                                                                                       Lawrence Rubin
                 State the term remaining                   7717                       6 Chatham Rd
                                                                                       Little Egg Harbor, NJ 08087-3658


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 32 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 66 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract


 2.176.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Lewis Furman
               List the contract number of                                             25 Chatham Rd
                any government contract                     7711                       Little Egg Harbor, NJ 08087-3661


 2.177.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Lewis Sofield
               List the contract number of                                             106 1st Ave
                any government contract                     6040                       Tuckerton, NJ 08087-2704


 2.178.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Linda Longstreet
               List the contract number of                                             6946 SE Harbor Cir
                any government contract                     2157                       Stuart, FL 34996-1915


 2.179.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                   7517
                                                                                       Lisa Fabian
               List the contract number of                                             9 Mimi Pl
                any government contract                                                Manahawkin, NJ 08050-5611


 2.180.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Lynie Barry
               List the contract number of                                             54 Golf View Dr
                any government contract                     7705                       Little Egg Harbor, NJ 08087-4222




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 33 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 67 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.181.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Maggie Lessard
               List the contract number of                                             9600 Beach Ave
                any government contract                     7905                       Beach Haven, NJ 08008-3219


 2.182.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Mario J Abati
               List the contract number of                                             37 Masters Ct
                any government contract                     2010                       Little Egg Harbor, NJ 08087-2904


 2.183.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Marke Heslin
               List the contract number of                                             330 Privateer Rd
                any government contract                     7742                       Manahawkin, NJ 08050-1702


 2.184.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Martin Cutter
               List the contract number of                                             1600 Strem Pkwy
                any government contract                     2120                       Point Pleasant, NJ 08742


 2.185.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Martin Reiss
               List the contract number of                                             54 Butler Dr
                any government contract                     7903                       Barnegat, NJ 08005-2252


 2.186.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                       Mary Gifford
                 State the term remaining                                              67 Pine Oak Blvd
                                                                                       Barnegat, NJ 08005-3111


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 34 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 68 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2106


 2.187.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Mary Kate Reilly
               List the contract number of                                             328 Bayberry Ct
                any government contract                     7535                       West Creek, NJ 08092-2834


 2.188.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Maureen Tyhanic
               List the contract number of                                             16 Pembrook Ct
                any government contract                     7525                       Little Egg Harbor, NJ 08087-3923


 2.189.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Michael A. Mazur
               List the contract number of                                             359 W 12th St
                any government contract                     7740                       Ship Bottom, NJ 08008-4525


 2.190.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Michael C Coogan
               List the contract number of                                             354 Golf View Dr
                any government contract                     2089                       Little Egg Harbor, NJ 08087-4230


 2.191.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Michael Eiche
               List the contract number of                                             4 Corkery Ln
                any government contract                     2002                       Medford, NJ 08055-2369




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 35 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 69 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.192.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Michael Knapp
               List the contract number of                                             14 Hemlock Ln
                any government contract                     2072                       Bayville, NJ 08721-2406


 2.193.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Michael Kurdes
               List the contract number of                                             50 Valentine St
                any government contract                     2149                       Monmouth Beach, NJ 07750-1466


 2.194.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Michael Lutz
               List the contract number of                                             5 Hearthwood Ct
                any government contract                     2155                       Manahawkin, NJ 08050-7807


 2.195.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Michelle McMenamin
               List the contract number of                                             411 N 3rd St
                any government contract                     7720                       Surf City, NJ 08008-4928


 2.196.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Mickey Minitti
               List the contract number of                                             509 Northern Blvd
                any government contract                     6008                       Bayville, NJ 08721-2742


 2.197.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest
                                                                                       Mike Cuoco
                 State the term remaining                                              109 W Osborn Ave
                                                                                       Beach Haven, NJ 08008-1226


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 36 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 70 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     7740


 2.198.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Mike Remus
               List the contract number of                                             365 S 3rd St
                any government contract                     2018                       Surf City, NJ 08008-4738


 2.199.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Mitchell Perkins
               List the contract number of                                             14 Oak Tree Ln
                any government contract                     2045                       Manahawkin, NJ 08050-3075


 2.200.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Morgan Tyhanic
               List the contract number of                                             16 Pembrook Ct
                any government contract                     7527                       Little Egg Harbor, NJ 08087-3923


 2.201.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Nick Amabile
               List the contract number of                                             559 Bethany Ln
                any government contract                     2085                       Brick, NJ 08723-5064


 2.202.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Nick Manoy
               List the contract number of                                             7 Swan Hollow Ct
                any government contract                     2119                       Ramsey, NJ 07446-1298




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 37 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 71 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.203.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Nicole Astegher
               List the contract number of                                             315 Lighthouse Dr
                any government contract                     7750                       Manahawkin, NJ 08050-2324


 2.204.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Ozzie Dupuis
               List the contract number of                                             73 John Dr
                any government contract                     2066                       Kirkwood, PA 17536-9522


 2.205.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Pat Fredella
               List the contract number of                                             7 Chatham Rd
                any government contract                     7752                       Little Egg Harbor, NJ 08087-3661


 2.206.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Patrick Bergamo
               List the contract number of                                             39 Lakeland Dr
                any government contract                     7753                       Barnegat, NJ 08005-5546


 2.207.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Patrick Lynch
               List the contract number of                                             222 Newport Way
                any government contract                     2071                       Little Egg Harbor, NJ 08087-3650


 2.208.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Patrick Mazzaro
                 State the term remaining                                              240 Timberlake Dr
                                                                                       Manahawkin, NJ 08050-4605


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 38 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 72 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2121


 2.209.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Paul Gluck
               List the contract number of                                             621 Huntington Ave
                any government contract                     6050                       Pine Beach, NJ 08741-1239


 2.210.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Paul Mikitik
               List the contract number of                                             147 Newport Way
                any government contract                     2118                       Little Egg Harbor, NJ 08087-3644


 2.211.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Paul Reilly
               List the contract number of                                             328 Bayberry Ct
                any government contract                     7534                       West Creek, NJ 08092-2834


 2.212.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Paul Sharkey
               List the contract number of                                             57 Lafayette Dr
                any government contract                     7734                       Manahawkin, NJ 08050-2908


 2.213.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Paul W Davis
               List the contract number of                                             39 Ashwood Dr
                any government contract                     2138                       Brick, NJ 08723-3401




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 39 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 73 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.214.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Peg Danley
               List the contract number of                                             517 Shore Ave
                any government contract                     2146                       Ship Bottom, NJ 08008-4733


 2.215.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Perry Michael Baue
               List the contract number of                                             6 The Arbors
                any government contract                     7725                       New Providence, NJ 07974-1994


 2.216.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                   7523
                                                                                       Pete Fabin, Jr
               List the contract number of                                             9 Mimi Pl
                any government contract                                                Manahawkin, NJ 08050-5611


 2.217.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Pete Panietti
               List the contract number of                                             242 W 9th St
                any government contract                     2117                       Ship Bottom, NJ 08008-4613


 2.218.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Peter F Parrinell
               List the contract number of                                             25 Masters Ct
                any government contract                     2100                       Little Egg Harbor, NJ 08087-2904


 2.219.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest
                                                                                       Peter Fabian Sr
                 State the term remaining                                              9 Mimi Pl
                                                                                       Manahawkin, NJ 08050-5611


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 40 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 74 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     7507


 2.220.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Peter Hellawell
               List the contract number of                                             42 Golf View Dr
                any government contract                     3003                       Little Egg Harbor, NJ 08087-4222


 2.221.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Peter L Merkel
               List the contract number of                                             56 Golf View Dr
                any government contract                     7708                       Little Egg Harbor, NJ 08087-4222


 2.222.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Peter Papa
               List the contract number of                                             431 Golf View Dr
                any government contract                     6038                       Little Egg Harbor, NJ 08087-4229


 2.223.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Peter Vandenberg
               List the contract number of                                             382 Cokes Dr
                any government contract                     2130                       Toms River, NJ 08753-4258


 2.224.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Philip Ferinde
               List the contract number of                                             32 Mulberry Dr
                any government contract                     2168                       Manahawkin, NJ 08050-5439




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 41 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 75 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.225.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Phillip Fegarsky
               List the contract number of                                             31 Hamble Rd
                any government contract                     7722                       Little Egg Harbor, NJ 08087-3667


 2.226.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Pierce Herbst
               List the contract number of                                             99 Lakeview Dr E
                any government contract                     2005                       Egg Harbor Township, NJ 08234-7818


 2.227.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Ralph Bonadies
               List the contract number of                                             63 Hidden Lake Cir
                any government contract                     2034                       Barnegat, NJ 08005-5593


 2.228.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Ray Milavsky
               List the contract number of                                             4 Labaia Ln
                any government contract                     2076                       Beach Haven, NJ 08008-6120


 2.229.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Raymond Moehring
               List the contract number of                                             333 Bay Ave
                any government contract                     2088                       Tuckerton, NJ 08087-2505


 2.230.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest
                                                                                       Rebecca Boncheck
                 State the term remaining                                              423 Middle Branch Dr
                                                                                       Forked River, NJ 08731-4941


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 42 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 76 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     7538


 2.231.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Reid Carnes
               List the contract number of                                             427 Oak Ave
                any government contract                     2110                       West Creek, NJ 08092-2814


 2.232.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Rich Nisula
               List the contract number of                                             220 Newport Way
                any government contract                     7714                       Little Egg Harbor, NJ 08087-3650


 2.233.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Rich McDowell
               List the contract number of                                             316 N 6th St
                any government contract                     2167                       Surf City, NJ 08008-5262


 2.234.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Richard Corsetto
               List the contract number of                                             6 Manchester Ct
                any government contract                     2148                       Wayne, NJ 07470-3304


 2.235.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Richard Longsh
               List the contract number of                                             58 Chatham Rd
                any government contract                     2051                       Little Egg Harbor, NJ 08087-3660




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 43 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 77 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.236.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Richard Mandel
               List the contract number of                                             2604 Lynbrooke Dr
                any government contract                     2147                       Yardley, PA 19067-7274


 2.237.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining                                              Richard O'Connell
                                                                                       122 Lakeshore Drive
               List the contract number of                                             North Palm Beach FL
                any government contract                     3526


 2.238.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Richard Tretsky
               List the contract number of                                             15 Clear Lake Rd
                any government contract                     3510                       Whiting, NJ 08759-2970


 2.239.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Rick Sinopoli Sr
               List the contract number of                                             20 Links Ln
                any government contract                     2064                       Little Egg Harbor, NJ 08087-4250


 2.240.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Rick Videyko
               List the contract number of                                             20 Greenside Dr
                any government contract                     2135                       Little Egg Harbor, NJ 08087-2096


 2.241.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest
                                                                                       Robert Aftanis
                 State the term remaining                                              110 Berkeley Ave
                                                                                       Beach Haven, NJ 08008-1615


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 44 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 78 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     7728


 2.242.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Robert B. Doll
               List the contract number of                                             11700 Beach Avenue Long Bch
                any government contract                     3008                       Beach Haven, NJ 08008


 2.243.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Robert Danley
               List the contract number of                                             517 Shore Ave
                any government contract                     2145                       Ship Bottom, NJ 08008-4733


 2.244.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Robert Lyons
               List the contract number of                                             315 Lighthouse Dr
                any government contract                     7759                       Manahawkin, NJ 08050-2324


 2.245.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Robert Shillito
               List the contract number of                                             22 Grayhawk Ln
                any government contract                     3027                       Little Egg Harbor, NJ 08087-4240


 2.246.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Robert Tobias
               List the contract number of                                             104 E Mac Evoy Ln
                any government contract                     7737                       Long Beach, NJ 08008-2921




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 45 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 79 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.247.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Robert W Tredinni
               List the contract number of                                             432 Golf View Dr
                any government contract                     2114                       Little Egg Harbor, NJ 08087-4232


 2.248.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Ron Colla
               List the contract number of                                             35 Butler Dr
                any government contract                     7750                       Barnegat, NJ 08005-2251


 2.249.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Ronald Fuller
               List the contract number of                                             86 Golf View Dr
                any government contract                     3004                       Little Egg Harbor, NJ 08087-4222


 2.250.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Ronald Renaud
               List the contract number of                                             387 Lighthouse Dr
                any government contract                     2011                       Manahawkin, NJ 08050-2324


 2.251.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Rudy Palombi
               List the contract number of                                             1699 Meetinghouse Ln
                any government contract                     2108                       Yardley, PA 19067-2600


 2.252.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                       Salvatore Messina
                 State the term remaining                                              233 Montant Dr
                                                                                       Palm Beach Gardens, FL 33410-1614


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 46 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 80 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     3509


 2.253.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Sam Judy Cromwell
               List the contract number of                                             112 Lake Winnepesaukee Dr
                any government contract                     2024                       Little Egg Harbor, NJ 08087-1237


 2.254.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Sami Reilly
               List the contract number of                                             328 Bayberry Ct
                any government contract                     7526                       West Creek, NJ 08092-2834


 2.255.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Sean McGilloway
               List the contract number of                                             891 Derry Dr
                any government contract                     2141                       Toms River, NJ 08753-3550


 2.256.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Sean Osborne-Lomas
               List the contract number of                                             1183 Canal Ave
                any government contract                     7764                       Manahawkin, NJ 08050-2209


 2.257.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Seth D Friedland
               List the contract number of                                             62 William St Fl 3
                any government contract                     2074                       New York, NY 10005-1546




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 47 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 81 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.258.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Shawn Weeks Jr
               List the contract number of                                             8 York Dr
                any government contract                     2127                       Helmetta, NJ 08828-1161


 2.259.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Stacy Cramer Jr
               List the contract number of                                             357 Mermaid Dr
                any government contract                     2093                       Manahawkin, NJ 08050-1231


 2.260.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Stephen Mariconda
               List the contract number of                                             1217 Taurus Ct
                any government contract                     2080                       Forked River, NJ 08731-5325


 2.261.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Stephen Mottola
               List the contract number of                                             26 Reed Rd
                any government contract                     2033                       Hillsborough, NJ 08844-4551


 2.262.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Steve Bishop
               List the contract number of                                             35 Jib Ct
                any government contract                     3029                       Bayville, NJ 08721-1550


 2.263.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                       Steve Cohen
                 State the term remaining                                              51 Edward Ct
                                                                                       Basking Ridge, NJ 07920-1966


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 48 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                        Desc Main
                                                           Document     Page 82 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                             Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

               List the contract number of
                any government contract                     2109


 2.264.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      Steve Kennedy
               List the contract number of                                            68 Perrin Ave
                any government contract                     2023                      Pompton Lakes, NJ 07442-1124


 2.265.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      Steven Bender
               List the contract number of                                            300 Prospect Ave Apt 18A
                any government contract                     2040                      Hackensack, NJ 07601-7706


 2.266.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      Steven Hirschfeld
               List the contract number of                                            3200 S Ocean Blvd Unit 403
                any government contract                     3012                      Highland Beach, FL 33487-2606


 2.267.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                      Stuart Ferguson
               List the contract number of                                            2 Richmond Ct
                any government contract                     2144                      Tinton Falls, NJ 07712-7731


 2.268.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                      Susan Gelinas
               List the contract number of                                            116 Demmy Ave
                any government contract                     7901                      Waretown, NJ 08758-2326




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                  Page 49 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 83 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.269.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Synatech
               List the contract number of                                             829 Radio Rd
                any government contract                     6066                       Little Egg Harbor, NJ 08087-1705


 2.270.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Synatech - Larry P
               List the contract number of                                             829 Radio Rd
                any government contract                     6067                       Little Egg Harbor, NJ 08087-1705


 2.271.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Tamra Neer
               List the contract number of                                             821 Beach Haven West Blvd
                any government contract                     2105                       Manahawkin, NJ 08050-3811


 2.272.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Tara Klements
               List the contract number of                                             163 Giffordtown Ln
                any government contract                     7525                       Little Egg Harbor, NJ 08087-9603


 2.273.      State what the contract or                     Family Membership
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Tara Reily
               List the contract number of                                             328 Bayberry Ct
                any government contract                     7532                       West Creek, NJ 08092-2834


 2.274.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest
                                                                                       Thomas Barton
                 State the term remaining                                              18 Masters Ct
                                                                                       Little Egg Harbor, NJ 08087-2943


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 50 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 84 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     3060


 2.275.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Thomas Gallagher
               List the contract number of                                             25 Osprey Ln
                any government contract                     2020                       Bayville, NJ 08721-2062


 2.276.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Thomas Gutwein
               List the contract number of                                             191 Arborridge Dr
                any government contract                     2111                       Forked River, NJ 08731-1068


 2.277.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Thomas J. Cullen
               List the contract number of                                             462 Golf View Dr
                any government contract                     3513                       Little Egg Harbor, NJ 08087-4234


 2.278.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Thomas Sirico
               List the contract number of                                             49 Chatham Rd
                any government contract                     7707                       Little Egg Harbor, NJ 08087-3661


 2.279.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Tim Rogers
               List the contract number of                                             17 Stuyvesant Oval Apt 1E
                any government contract                     2009                       New York, NY 10009-1935




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 51 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 85 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.280.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Timothy McWilliams
               List the contract number of                                             70 Bayview Dr
                any government contract                     2044                       Beach Haven, NJ 08008-6108


 2.281.      State what the contract or                     Annual Single
             lease is for and the nature of                 Weekday Membership
             the debtor's interest

                 State the term remaining
                                                                                       Todd Muhammad
               List the contract number of                                             97 Barnegat Blvd S
                any government contract                     2008                       Barnegat, NJ 08005-1407


 2.282.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Tom Hughes
               List the contract number of                                             7 Courtyard Ln
                any government contract                     2067                       Brielle, NJ 08730-1463


 2.283.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Tom Wallden
               List the contract number of                                             1806 Baltimore Ave
                any government contract                     7902                       Lavallette, NJ 08735-2501


 2.284.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Tony DiLorenzo
               List the contract number of                                             1112 Chatsworth Dr
                any government contract                     2046                       Colleyville, TX 76034


 2.285.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest
                                                                                       Trish Gutwein
                 State the term remaining                                              191 Arborridge Dr
                                                                                       Forked River, NJ 08731-1068


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 52 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 86 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

               List the contract number of
                any government contract                     2112


 2.286.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Vincent A Lucrezi
               List the contract number of                                             464 Golf View Dr
                any government contract                     2042                       Little Egg Harbor, NJ 08087-4234


 2.287.      State what the contract or                     Corporate Business
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                       Wayne Coyte
               List the contract number of                                             502 Nautilus Blvd
                any government contract                     6009                       Forked River, NJ 08731-1915


 2.288.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       William Burke
               List the contract number of                                             26 Westchester Dr
                any government contract                     2006                       Little Egg Harbor, NJ 08087-3009


 2.289.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       William Fagan
               List the contract number of                                             167 Mizzen Ave
                any government contract                     2169                       Manahawkin, NJ 08050-1920


 2.290.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       William Gleason
               List the contract number of                                             7 Golf View Dr
                any government contract                     7773                       Little Egg Harbor, NJ 08087-4219




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 53 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                           Document     Page 87 of 180
 Debtor 1 Sea Oaks Golf Club, LLC                                                              Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.291.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       William J McDonal
               List the contract number of                                             31 Masters Ct
                any government contract                     2166                       Little Egg Harbor, NJ 08087-2904


 2.292.      State what the contract or                     Annual Single Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       William Jones
               List the contract number of                                             9 Parkers Point Blvd
                any government contract                     2133                       Forked River, NJ 08731-4808


 2.293.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       William Prata
               List the contract number of                                             130 W Holly Ln
                any government contract                     7900                       Little Egg Harbor, NJ 08087-2038


 2.294.      State what the contract or                     Annual Single
             lease is for and the nature of                 Membership Twilight
             the debtor's interest

                 State the term remaining
                                                                                       Zvi (Steve) Weinba
               List the contract number of                                             11 Swan Lake Ct
                any government contract                     7744                       Barnegat, NJ 08005-5519




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                   Page 54 of 54
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                 Desc Main
                                                           Document     Page 88 of 180
          Fill in this information to identify the case:

 Debtor name        Sea Oaks Lifetime Members

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal      Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Adrian Dieckman
               List the contract number of                                            491 A Rte # 9P
                any government contract                     1016                      West Creek, NJ 08092


 2.2.        State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Alan Kirkpatrick
               List the contract number of                                            PO Box 545
                any government contract                     1064                      Barnegat Light, NJ 08006-0545


 2.3.        State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Arthur Schwarz
               List the contract number of                                            111 E North Carolina Ave
                any government contract                     1061                      Beach Haven, NJ 08008-3046


 2.4.        State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Brian Boucher
               List the contract number of                                            6 Coblestoe Ct
                any government contract                     1039                      Mills, PA 16937




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 89 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.5.        State what the contract or                     Lifetime member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Brian Lynch
               List the contract number of                                         210 N 11th St
                any government contract                     1047                   Surf City, NJ 08008-5310


 2.6.        State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Butch Dieckman
               List the contract number of                                         491 A Rte # 9P
                any government contract                     1916                   West Creek, NJ 08092


 2.7.        State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Butch Palaza
               List the contract number of                                         161 Shannon Ct
                any government contract                     1936                   Winchester, VA 22602-2372


 2.8.        State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Carin Kirkpatrick
               List the contract number of                                         PO Box 545
                any government contract                     1964                   Barnegat Light, NJ 08006-0545


 2.9.        State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Carl Sanderson
               List the contract number of                                         22 Grayhawk Ln
                any government contract                     1099                   Little Egg Harbor, NJ 08087-4240


 2.10.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Carol Dickson
                 State the term remaining                                          41 Golf View Dr
                                                                                   Tuckerton, NJ 08087-4219


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 2 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 90 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1996


 2.11.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Carol Stohrer
               List the contract number of                                         115 N Ohio Ave
                any government contract                     1902                   Beach Haven, NJ 08008-2858


 2.12.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Chris Wynkoop
               List the contract number of                                         1206 S Bay Ave
                any government contract                     1970                   Beach Haven, NJ 08008-1516


 2.13.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Dane Nugent
               List the contract number of                                         5000 Long Beach Blvd
                any government contract                     1954                   Beach Haven, NJ 08008-3932


 2.14.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Daniel Rauh
               List the contract number of                                         2 Alpine Dr
                any government contract                     1071                   North Haledon, NJ 07508-3116


 2.15.       State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   David Brothers
               List the contract number of                                         6 Childsworth Ave
                any government contract                     1950                   Bernardsville, NJ 07924-2304




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 3 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 91 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.16.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   David V. Johnson
               List the contract number of                                         35 Golf View Dr
                any government contract                     1069                   Little Egg Harbor, NJ 08087-4219


 2.17.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Debbie Esposito
               List the contract number of                                         2405 Cadwallader Sonk Rd
                any government contract                     1904                   Cortland, OH 44410-9425


 2.18.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Diane Cocozza
               List the contract number of                                         38 Bunker Dr
                any government contract                     1993                   Little Egg Harbor, NJ 08087-2942


 2.19.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Dolores c. Diaz
               List the contract number of                                         90 E Milan Blvd
                any government contract                     1040                   Farmingdale, NJ 07727-4316


 2.20.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Donald R. Burnaford
               List the contract number of                                         6405 A Long Beach Blvd
                any government contract                     1088                   Harvey Cedars, NJ 08008


 2.21.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Donald R. Wynkoop
                 State the term remaining                                          1206 S Bay Ave
                                                                                   Beach Haven, NJ 08008-1516


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 4 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 92 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1070


 2.22.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Donna Toledo
               List the contract number of                                         42 Bunker Dr
                any government contract                     1927                   Little Egg Harbor, NJ 08087-2942


 2.23.       State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Dorasani Reddy
               List the contract number of                                         149 Kristine Ave
                any government contract                     1907                   Manahawkin, NJ 08050-7811


 2.24.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Ed Balzarotti
               List the contract number of                                         32 Murphy Cir
                any government contract                     1025                   Florham Park, NJ 07932-2012


 2.25.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Edward Naugton
               List the contract number of                                         52 Lafayette Dr
                any government contract                     1020                   Manahawkin, NJ 08050-2907


 2.26.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Edward Zebrowski
               List the contract number of                                         358 W 10th St
                any government contract                     1006                   Ship Bottom, NJ 08008-6308




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 5 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 93 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.27.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Edward Zolcinzki
               List the contract number of                                         42 Schindler Ct
                any government contract                     1081                   Upper Saddle River, NJ 07458-2362


 2.28.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Eileen Dolan
               List the contract number of                                         373 Golf View Dr
                any government contract                     1023                   Little Egg Harbor, NJ 08087-4227


 2.29.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Elaine Turken
               List the contract number of                                         161 Flamingo Rd
                any government contract                     1951                   Tuckerton, NJ 08087-2408


 2.30.       State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Ellen Connors
               List the contract number of                                         13 Links Ln
                any government contract                     1978                   Little Egg Harbor, NJ 08087-4249


 2.31.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Frederick Collins
               List the contract number of                                         273 Grove St
                any government contract                     1066                   Woodbridge, NJ 07095-1627


 2.32.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest
                                                                                   George Ruotolo
                 State the term remaining                                          2409 Central Ave
                                                                                   Ship Bottom, NJ 08008-4234


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 6 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 94 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1087


 2.33.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Gregg Carlovich
               List the contract number of                                         15 Central Park W Apt 6P
                any government contract                     1085                   New York, NY 10023-7711


 2.34.       State what the contract or                     Lifetime member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   James M. Cadmus
               List the contract number of                                         13 Kings Cir
                any government contract                     1044                   Malvern, PA 19355-2001


 2.35.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   James R. Fischer
               List the contract number of                                         10 Pheasant Run
                any government contract                     1035                   Clarksburg, NJ 08510-1709


 2.36.       State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   James R. Fischer, Jr
               List the contract number of                                         10 Pheasant Run
                any government contract                     1935                   Clarksburg, NJ 08510-1709


 2.37.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Janet Wolf
               List the contract number of                                         464 Golf View Dr
                any government contract                     1941                   Little Egg Harbor, NJ 08087-4234




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 7 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 95 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.38.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Jason Monteleone
               List the contract number of                                         512 Ridgefield Rd
                any government contract                     1060                   Wilton, CT 06897-1926


 2.39.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Jean Lusardo
               List the contract number of                                         207 Jeremy Ln
                any government contract                     1922                   Manahawkin, NJ 08050-3634


 2.40.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Jim Thoma
               List the contract number of                                         717 Philadelphia Blvd
                any government contract                     1933                   Sea Girt, NJ 08750-2514


 2.41.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Joanne Prosky
               List the contract number of                                         13 Golf View Dr
                any government contract                     1993                   Little Egg Harbor, NJ 08087-4219


 2.42.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   John A. Adamiak
               List the contract number of                                         1068 H Long Beach Blvd
                any government contract                     1068                   Beach Haven, NJ 08008


 2.43.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest
                                                                                   John Arizzi
                 State the term remaining                                          22 Bunker Dr
                                                                                   Little Egg Harbor, NJ 08087-2942


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 8 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                       Desc Main
                                                           Document     Page 96 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                          Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

               List the contract number of
                any government contract                     1097


 2.44.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     John Buerkle
               List the contract number of                                           352 Golf View Dr
                any government contract                     1086                     Little Egg Harbor, NJ 08087-4230


 2.45.       State what the contract or                     Secondary Lifetime
             lease is for and the nature of                 Member
             the debtor's interest

                 State the term remaining
                                                                                     John Carlovich
               List the contract number of                                           15 Central Park W Apt 6P
                any government contract                     1985                     New York, NY 10023-7711


 2.46.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     John Harden
               List the contract number of                                           29 Woodlane Rd
                any government contract                     1982                     Lawrenceville, NJ 08648-1055


 2.47.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     John Harden, Jr
               List the contract number of                                           319 Monroe St Apt 1
                any government contract                     1982                     Hoboken, NJ 07030-7665


 2.48.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     John M. Conahan
               List the contract number of                                           15820 Savona Way
                any government contract                     1034                     Naples, FL 34110-2700




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                 Page 9 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 97 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.49.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   John Minnella
               List the contract number of                                         335 Golf View Dr
                any government contract                     1095                   Little Egg Harbor, NJ 08087-4225


 2.50.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Joseph F Watters
               List the contract number of                                         49 Golf View Dr
                any government contract                     1075                   Little Egg Harbor, NJ 08087-4219


 2.51.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Joseph G. Kiely
               List the contract number of                                         27 Johns Dr
                any government contract                     1042                   Warren, NJ 07059-3006


 2.52.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Karen Adamiak
               List the contract number of                                         1068 H Long Beach Blvd
                any government contract                     1968                   Beach Haven, NJ 08008


 2.53.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Karen Beurkle
               List the contract number of                                         352 Golf View Dr
                any government contract                     1986                   Little Egg Harbor, NJ 08087-4230


 2.54.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Karen Rauh
                 State the term remaining                                          2 Alpine Dr
                                                                                   North Haledon, NJ 07508-3116


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 10 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 98 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1971


 2.55.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                          Kathleen Cameron
                                                                                   18 Cypress Court
               List the contract number of                                         Little Egg Harbor, NJ
                any government contract                     1976


 2.56.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Kathleen Guarino
               List the contract number of                                         3 Downe Cir
                any government contract                     1090                   Medford, NJ 08055-3331


 2.57.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Kathy Halliday
               List the contract number of                                         207 Jeremy Ln
                any government contract                     1932                   Manahawkin, NJ 08050-3634


 2.58.       State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Kevin Hogan
               List the contract number of                                         1907 Ocean Ave
                any government contract                     1946                   Surf City, NJ 08008-5443


 2.59.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Larry Cameron
               List the contract number of                                         18 Cypress Ct
                any government contract                     1076                   Little Egg Harbor, NJ 08087-4231




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 11 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                           Document     Page 99 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.60.       State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Linda J. Gamble
               List the contract number of                                         311 Orchard Way
                any government contract                     1917                   Wayne, PA 19087-4833


 2.61.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Linda Rawlins
               List the contract number of                                         286 Holcombe Way
                any government contract                     1977                   Lambertville, NJ 08530-2227


 2.62.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Lori Moscato
               List the contract number of                                         42 Hamble Rd
                any government contract                     1994                   Little Egg Harbor, NJ 08087-3668


 2.63.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Margaret Felix
               List the contract number of                                         436 Golf View Dr
                any government contract                     1953                   Little Egg Harbor, NJ 08087-4232


 2.64.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Marilyn Colucci
               List the contract number of                                         361 Golf View Dr
                any government contract                     1027                   Little Egg Harbor, NJ 08087-4227


 2.65.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Mark Balzarotti
                 State the term remaining                                          6 Atlas Rd
                                                                                   Basking Ridge, NJ 07920-2206


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 12 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 100 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1025


 2.66.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Mark Prosky
               List the contract number of                                         13 Golf View Dr
                any government contract                     1091                   Little Egg Harbor, NJ 08087-4219


 2.67.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Mary Jane Watters
               List the contract number of                                         49 Golf View Dr
                any government contract                     1975                   Little Egg Harbor, NJ 08087-4219


 2.68.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Michael Bayles
               List the contract number of                                         209 Glen Arden Dr
                any government contract                     1931                   Fairfield, CT 06824-3901


 2.69.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Michael Boucher
               List the contract number of                                         405 Timber Ln
                any government contract                     1939                   Newtown Square, PA 19073-1708


 2.70.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Michael Cocozza
               List the contract number of                                         38 Bunker Dr
                any government contract                     1093                   Little Egg Harbor, NJ 08087-2942




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 13 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 101 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.71.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Michael F Sullivan
               List the contract number of                                         1118 E Lon Beach Blvd
                any government contract                     1029                   North Beach, NJ 08008


 2.72.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Michael J. Monteleone
               List the contract number of                                         309 E 87th St Apt 6
                any government contract                     1960                   New York, NY 10128-4809


 2.73.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Michael Lusardo
               List the contract number of                                         207 Jeremy Ln
                any government contract                     1022                   Manahawkin, NJ 08050-3634


 2.74.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Michael Zisman
               List the contract number of                                         311 Orchard Way
                any government contract                     1017                   Wayne, PA 19087-4833


 2.75.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Mr. Al Halliday
               List the contract number of                                         14 Susan Ln
                any government contract                     1032                   Manahawkin, NJ 08050-4270


 2.76.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Nancy Lynch
                 State the term remaining                                          210 N 11th St
                                                                                   Surf City, NJ 08008-5310


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 14 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 102 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1947


 2.77.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Patrick Dolan
               List the contract number of                                         237 Barnsboro Rd
                any government contract                     1923                   Sewell, NJ 08080-4503


 2.78.       State what the contract or                     Lifetiime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Patrick Esposito
               List the contract number of                                         2405 Cadwallader Sonk Rd
                any government contract                     1004                   Cortland, OH 44410-9425


 2.79.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Patrick Hogan
               List the contract number of                                         1907 Ocean Ave
                any government contract                     1046                   Surf City, NJ 08008-5443


 2.80.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Patrick Minella
               List the contract number of                                         192 Liberty Ave
                any government contract                     1995                   Manahawkin, NJ 08050-1915


 2.81.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Paula G. Doll
               List the contract number of                                         6324 Long Beach Blvd
                any government contract                     1903                   Beach Haven, NJ 08008-5758




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 15 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 103 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.82.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Peter J. Swarts
               List the contract number of                                         34 Bunker Dr
                any government contract                     1024                   Little Egg Harbor, NJ 08087-2942


 2.83.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Ralph Moscato
               List the contract number of                                         42 Hamble Rd
                any government contract                     1094                   Little Egg Harbor, NJ 08087-3668


 2.84.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   rank W. Bode
               List the contract number of                                         66 Golf View Dr
                any government contract                     1036                   Little Egg Harbor, NJ 08087-4222


 2.85.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                          Raymond Rawlins
                                                                                   286 Holcombe Way
               List the contract number of                                         Lambertville, NJ 08530
                any government contract                     1077


 2.86.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Richard Linquist
               List the contract number of                                         333 E 91st St Apt 33C
                any government contract                     1001                   New York, NY 10128-5894


 2.87.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Richard Pollard
                 State the term remaining                                          4 John St
                                                                                   Little Egg Harbor, NJ 08087-9615


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 16 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 104 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1021


 2.88.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Richard Toledo
               List the contract number of                                         42 Bunker Dr
                any government contract                     1027                   Little Egg Harbor, NJ 08087-2942


 2.89.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert Connors
               List the contract number of                                         13 Links Ln
                any government contract                     1078                   Little Egg Harbor, NJ 08087-4249


 2.90.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert H. Woods
               List the contract number of                                         408 Championship Way
                any government contract                     1011                   Moorestown, NJ 08057-3993


 2.91.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert J. Wolf
               List the contract number of                                         464 Golf View Dr
                any government contract                     1041                   Little Egg Harbor, NJ 08087-4234


 2.92.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert Nugent
               List the contract number of                                         5000 Long Branch Blvd
                any government contract                     1054                   Beach Haven, NJ 08008




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 17 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 105 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.93.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert R Kircher
               List the contract number of                                         5 W Lillie Ave
                any government contract                     1048                   Beach Haven, NJ 08008-3131


 2.94.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert Stohrer
               List the contract number of                                         115 N Ohio Ave
                any government contract                     1002                   Beach Haven, NJ 08008-2858


 2.95.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert Thoma
               List the contract number of                                         651 Oriskany Ct
                any government contract                     1033                   Osprey, FL 34229-9379


 2.96.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Robert Turken
               List the contract number of                                         161 Flamingo Rd
                any government contract                     1051                   Tuckerton, NJ 08087-2408


 2.97.       State what the contract or                     Secondary Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Rose marie Davidson
               List the contract number of                                         207 Jeremy Ln
                any government contract                     1974                   Manahawkin, NJ 08050-3634


 2.98.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Rosemaur Leonardo
                 State the term remaining                                          67 Cedars Ave
                                                                                   Harvey Cedars, NJ 08008-5720


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 18 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 106 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1092


 2.99.       State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Saibaba Reddy
               List the contract number of                                         149 Kristine Ave
                any government contract                     1007                   Manahawkin, NJ 08050-7811


 2.100.      State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Sanra Johnson
               List the contract number of                                         35 Golf View Dr
                any government contract                     1969                   Little Egg Harbor, NJ 08087-4219


 2.101.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Shawn Weeks
               List the contract number of                                         8 York Dr
                any government contract                     1089                   Helmetta, NJ 08828-1161


 2.102.      State what the contract or                     Secondary member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Suzanne Conahan
               List the contract number of                                         15820 Savona Way
                any government contract                     1034                   Naples, FL 34110-2700


 2.103.      State what the contract or                     Secondard Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Suzanne Lindquist
               List the contract number of                                         9 Charleston Ct
                any government contract                     1901                   Basking Ridge, NJ 07920-3814




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 19 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 107 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.104.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Thomas Brothers
               List the contract number of                                         2 S Central Ave
                any government contract                     1050                   Surf City, NJ 08008-4844


 2.105.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Thomas Lockburner
               List the contract number of                                         55 Murphy Cir
                any government contract                     1031                   Florham Park, NJ 07932-2010


 2.106.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Thomas M, Dickson
               List the contract number of                                         41 Golf View Dr
                any government contract                     1096                   Little Egg Harbor, NJ 08087-4219


 2.107.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Timothy Doll
               List the contract number of                                         268 Forge Rd
                any government contract                     1003                   West Creek, NJ 08092-9309


 2.108.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   Timothy N. Weeks
               List the contract number of                                         44 Hyer Ct
                any government contract                     1083                   Aberdeen, NJ 07747-1252


 2.109.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest
                                                                                   Willaim Davidson
                 State the term remaining                                          207 Jeremy Ln
                                                                                   Manahawkin, NJ 08050-3634


Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 20 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                     Desc Main
                                                          Document     Page 108 of 180
 Debtor 1 Sea Oaks Lifetime Members                                                         Case number (if known)
             First Name               Middle Name                  Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

               List the contract number of
                any government contract                     1074


 2.110.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   William D. Felix
               List the contract number of                                         436 Golf View Dr
                any government contract                     1053                   Little Egg Harbor, NJ 08087-4232


 2.111.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   William F. Henning
               List the contract number of                                         250 Matey Ave
                any government contract                     1028                   Manahawkin, NJ 08050-2233


 2.112.      State what the contract or                     Lifetime Member
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                   William R. Stanbach
               List the contract number of                                         2220 West Ave
                any government contract                     1030                   Beach Haven, NJ 08008-1349




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                               Page 21 of 21
Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                            Desc Main
                                                          Document     Page 109 of 180
           Fill in this information to identify the case:

 Debtor name        Sea Oaks Golf Club, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                    Name                            Check all schedules
                                                                                                                                 that apply:
     2.1     Joseph Mezzina                   72 Golf View Drive                                 Atlantic Homes, Inc.            D          2.2
                                              Little Egg Harbor, N                                                                E/F
                                                                                                                                 G


     2.2     Sea View                         99 Golf View Dr                                    Atlantic Homes, Inc.            D          2.2
             Country Club,                    Little Egg Harbor, NJ 08087-4219                                                    E/F
             LLC
                                                                                                                                 G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
Software Copyright (c) 2020 CINGroup - www.cincompass.com
         Case 20-17228-CMG                      Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                        Desc Main
                                                    Document     Page 110 of 180



    Fill in this information to identify the case:

Debtor name       Sea Oaks Golf Club, LLC

United States Bankruptcy Court for the:      DISTRICT OF NEW JERSEY, TRENTON DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 3, 2020                      X /s/ Joseph Mezzina
                                                             Signature of individual signing on behalf of debtor

                                                              Joseph Mezzina
                                                              Printed name

                                                              Managing Member of J & J Partnership, LL
                                                              Position or relationship to debtor
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                          Desc Main
                                                          Document     Page 111 of 180
                                                                United States Bankruptcy Court
                                                            District of New Jersey, Trenton Division
 In re      Sea Oaks Golf Club, LLC                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter         11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                        Security Class Number of Securities                              Kind of Interest
 business of holder
 Atlantic Homes, Inc.                                           Member                 0.49
 c/o James J. Curry LLM
 505 Main St
 Toms River, NJ 08753-7443

 J & J Partnership, LLC                                         Member                 0.51
 PO Box 1825
 Little Egg Harbor, NJ 08087-5825


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Managing Member of J & J Partnership, LL of the Limited Liability Companynamed as the debtor in this case,
declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct
to the best of my information and belief.



 Date June 3, 2020                                                           Signature /s/ Joseph Mezzina
                                                                                              Joseph Mezzina

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                         Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                      Desc Main
                                                          Document     Page 112 of 180



           Fill in this information to identify the case:

 Debtor name        Sea Oaks Golf Club, LLC

 United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY, TRENTON DIVISION

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)

       For prior year:                                                                         Operating a business                                  $42,012.00
       From 1/01/2019 to 12/31/2019                                                                        rental real estate
                                                                                              Other       income


       For year before that:                                                                   Operating a business                                $-258,016.00
       From 1/01/2018 to 12/31/2018
                                                                                              Other       negative


       For the fiscal year:                                                                    Operating a business                                $-258,030.00
       From 1/01/2017 to 12/31/2017
                                                                                              Other       negative

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

      None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                            Desc Main
                                                          Document     Page 113 of 180
 Debtor       Sea Oaks Golf Club, LLC                                                                   Case number (if known)



    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
    Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
    relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
       Insider's name and address                                         Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

       None.
              Case title                                      Nature of case              Court or agency's name and                 Status of case
              Case number                                                                 address
       7.1.   Atlantic Homes, Inc. v. Sea                     Suit on                     Superior Court of New                       Pending
              Oaks Golf Club,LLC, Joseph                      promissory note             Jerse                                         On appeal
              Mezzina, and Sea Oaks                           and guaranty                118 Washington St
                                                                                                                                        Concluded
              Country Club, LLC                                                           Toms River, NJ 08753-7626
              OCN-L-424-20

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      None
              Recipient's name and address                    Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                         Desc Main
                                                          Document     Page 114 of 180
 Debtor        Sea Oaks Golf Club, LLC                                                                  Case number (if known)



       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss          Value of property
       the loss occurred                                                                                                                                     lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                Who was paid or who received the                If not money, describe any property transferred               Dates               Total amount or
                transfer?                                                                                                                                  value
                Address
       11.1.    Broege, Neumann, Fischer &
                Shaver
                25 Abe Voorhees Dr
                Manasquan, NJ 08736-3560                                                                                      12/13/2019                $5,000.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    Broege, Neumann, Fischer &
                Shaver
                25 Abe Voorhees Dr                                                                                            May 26,
                Manasquan, NJ 08736-3560                                                                                      2020                      $6,717.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                         Description of property transferred or                     Date transfer was        Total amount or
               Address                                        payments received or debts paid in exchange                made                              value

 Part 7:       Previous Locations

14. Previous addresses
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3

Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                         Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                       Desc Main
                                                          Document     Page 115 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                    Case number (if known)



    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                                   Dates of occupancy
                                                                                                                          From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                Facility name and address                     Nature of the business operation, including type of services the           If debtor provides meals
                                                              debtor provides                                                            and housing, number of
                                                                                                                                         patients in debtor’
                                                                                                                                                           s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and                Last 4 digits of           Type of account or           Date account was          Last balance before
                Address                                       account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Do you still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 4

Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                         Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                      Desc Main
                                                          Document     Page 116 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                    Case number (if known)




      None
       Facility name and address                                   Names of anyone with access            Description of the contents             Do you still
                                                                   to it                                                                          have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

     None
       Owner's name and address                                    Location of the property               Describe the property                               Value
       various members                                                                                    Golf clubs, bags and related                        $0.00
                                                                                                          items


 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                      Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known         Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known         Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5

Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                           Desc Main
                                                          Document     Page 117 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                    Case number (if known)



    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26a.1.       Dolan Bell & Marsella
                    24 Nautilus Dr Ste 9
                    Manahawkin, NJ 08050-2490
       26a.2.       Angela Mezzina
                    6 Altori Ct
                    Little Egg Harbor, NJ 08087-4108

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

           None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26b.1.       Dolan Bell & Marsella                                                                                                     2018, 2019, 2020
                    24 Nautilus Dr Ste 9
                    Manahawkin, NJ 08050-2490

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

          None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          None
       Name and address

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest          % of interest, if
                                                                                                                                                       any
       J&J PARTNERSHIP LLC                          72 Golf View Dr                                       Member                                       51
                                                    Little Egg Harbor, NJ 08087-4222

       Name                                         Address                                               Position and nature of any interest          % of interest, if
                                                                                                                                                       any
       Atlantic Homes, Inc.                         505 Main St                                           Member                                       49%
                                                    Toms River, NJ 08753-7443

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6

Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                         Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                                     Desc Main
                                                          Document     Page 118 of 180
 Debtor      Sea Oaks Golf Club, LLC                                                                    Case number (if known)




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

       Name                                         Address                                               Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Joseph Mezzina                               72 Golf View Dr                                       Manager                          01/29/2015 -
                                                    Little Egg Harbor, NJ 08087-4222                                                       02/22/2020


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient                   Amount of money or description and value of                Dates             Reason for providing
                                                              property                                                                     the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the parent
                                                                                                              corporation

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        June 3, 2020

 /s/ Joseph Mezzina                                                    Joseph Mezzina
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor        Managing Member of J & J Partnership,
                                           LL

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes


Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7

Software Copyright (c) 2020 CINGroup - www.cincompass.com
            Case 20-17228-CMG                         Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                              Desc Main
                                                          Document     Page 119 of 180
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                            District of New Jersey, Trenton Division
 In re       Sea Oaks Golf Club, LLC                                                                         Case No.
                                                                              Debtor(s)                      Chapter      11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

             RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                  5,000.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          600.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                    Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                    Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 Plus Filing Fee of $1,717.00

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               .The said retainer is a retainer against the fees to be determined at the conclusion of these proceedings, or at
               such intervals and in such amounts as the Court may approve the said compensation and any further
               compensation to be determined as the Court may allow, in accordance with the provisions of United States
               Bankruptcy Code.




Software Copyright (c) 2020 CINGroup - www.cincompass.com
           Case 20-17228-CMG                          Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00                         Desc Main
                                                          Document     Page 120 of 180
 In re       Sea Oaks Golf Club, LLC                                                                Case No.
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 3, 2020                                                            /s/ Timothy P. Neumann Esq
     Date                                                                    Timothy P. Neumann Esq
                                                                             Signature of Attorney
                                                                             Broege, Neumann, Fischer & Shaver LLC

                                                                             25 Abe Voorhees Dr
                                                                             Manasquan, NJ 08736-3560
                                                                             (732) 223-8484 Fax: (732) 223-2416
                                                                             tneumann@bnfsbankruptcy.com
                                                                             Name of law firm




Software Copyright (c) 2020 CINGroup - www.cincompass.com
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 121 of 180




     Abby Guider
     1958 Breakers Dr
     Barnegat, NJ 08005-2646


     Adam Doren
     1027 Garden St
     Hoboken, NJ 07030-4302


     Adrian Dieckman
     491 A Rte # 9P
     West Creek, NJ 08092


     Alan Kirkpatrick
     PO Box 545
     Barnegat Light, NJ      08006-0545


     Alan Lee
     311 Center St
     Manahawkin, NJ     08050-3120


     Alan Sauer
     6 Maple Ave
     Barnegat, NJ     08005-2306


     Albert Silvestri
     423 Middle Branch Dr
     Forked River, NJ 08731-4941
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 122 of 180




     Allen Halliday
     14 Susan Ln
     Manahawkin, NJ     08050-4270


     Ally Financial
     Bankruptcy Department
     PO Box 130424
     Saint Paul, MN 55113-0004


     Angelo Mureo
     8 Creekview Rd
     Barnegat, NJ 08005-2434


     Angelo W. Lovallo
     337 Golf View Dr
     Little Egg Harbor, NJ      08087-4225


     Ann Davidson
     324 Golf View Dr
     Little Egg Harbor, NJ      08087-4230


     Anthony Macahilig
     314 Princeton Rd
     Linden, NJ 07036-5502


     Anthony Rischitell
     15 Aldom Cir
     West Caldwell, NJ 07006-7414
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 123 of 180




     Anthony Troisi
     1104 Oahu Dr
     Forked River, NJ     08731-4701


     Anthony Viscito
     39 Eastern Pkwy
     Caldwell, NJ 07006-7215


     Archer Katz
     151 Birchwood Rd
     Old Tappan, NJ 07675-6810


     arthur Kukoda
     33 Maple St
     Spotswood, NJ     08884-2109


     Arthur Schwarz
     111 E North Carolina Ave
     Long Beach, NJ 08008-3046


     Atlantic Homes, Inc.
     c/o James J. Curry LLM
     505 Main St
     Toms River, NJ 08753-7443


     Austin Gobo
     331 E 9th St Apt 3
     New York, NY 10003-7721
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 124 of 180




     Barbara Bailey
     25 Highland Dr
     Manahawkin, NJ     08050-5440


     Barbara Borinsky
     318 Golf View Dr
     Tuckerton, NJ 08087-4230


     Barbara Cogswell
     50 Windstar Dr
     Little Egg Harbor, NJ      08087-1678


     Barbara Johnstone
     PO Box 97
     Kenilworth, NJ 07033-0097


     Better A. Bauer
     23 Masters Ct
     Little Egg Harbor, NJ      08087-2904


     Betty Chesner
     6 Hillwood Dr
     Mount Laurel, NJ     08054-6924


     Betty Joyce Meye
     10 Bunker Dr
     Little Egg Harbor, NJ      08087-2942
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 125 of 180




     Bill Decker
     123 Golf View Dr
     Little Egg Harbor, NJ      08087-4223


     Bill Rafferty
     18 Denville St
     Barnegat, NJ 08005-2503


     Bill Upton
     303 Terrace Ave
     Toms River, NJ 08753-7729


     Bob Terrigno
     47 Sunnycrest Dr
     Brick, NJ 08724-3654


     Bonnie Merkel
     56 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Bonnie W Davis
     PO Box 389
     Barnegat Light, NJ      08006


     Bradley Hewitt
     151 Darryl Dr
     Little Egg Harbor, NJ      08087-9768
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 126 of 180




     Brain Bouher
     6 Cobblestone Ct
     Glen Mills, PA 19342-1775


     Brandon Tyhanic
     16 Pembrook Ct
     Little Egg Harbor, NJ      08087-3923


     Brian Brady
     22 Timber Ln
     West Creek, NJ     08092-9677


     Brian Havrilak
     233 Aberdeen Ave
     Exton, PA 19341-2720


     Brian Klements
     163 Giffordtown Ln
     Little Egg Harbor, NJ      08087-9603


     Brian Lynch
     210 N 11th St
     Surf City, NJ     08008-5310


     Brian Silvestri
     423 Middle Branch Dr
     Forked River, NJ 08731-4941
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 127 of 180




     Brian Varley
     1420 Ocean Way Apt 3A
     Jupiter, FL 33477-7271


     Bruce Seaman
     PO Box 8243
     Trenton, NJ 08650-0243


     Bruce Stiers
     365 Golf View Dr
     Little Egg Harbor, NJ      08087-4227


     Butch Dieckman
     491 A Rte # 9P
     West Creek, NJ     08092


     Butch Palazza
     161 Shannon Ct
     Winchester, VA     22602-2372


     C J Mack
     220 Centre St Fl 2
     Beach Haven, NJ 08008-1714


     Caitlin Guider
     1958 Breakers Dr
     Barnegat, NJ 08005-2646
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 128 of 180




     Campbell Johnstone
     PO Box 97
     Kenilworth, NJ 07033-0097


     Candy Guider
     1958 Breakers Dr
     Barnegat, NJ 08005-2646


     Carin Kirkpatrick
     PO Box 545
     Barnegat Light, NJ      08006-0545


     Carmen Mack
     1 W 29th Street Long Bch
     Beach Haven, NJ 08008


     Carol Dickson
     42 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Carol Sanderson
     25 Grayhawk Ln
     Little Egg Harbor, NJ      08087-4243


     Carol Stohrer
     115 N Ohio Ave
     Barnegat Light, NJ      08006
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 129 of 180




     Carol Terrigno
     47 Sunnycrest Dr
     Brick, NJ 08724-3654


     Cassie Brady
     22 Timber Ln
     West Creek, NJ     08092-9677


     Charles McGinley
     412 Liberty Ave
     Beach Haven, NJ 08008-1455


     Charles Peterson
     285 Nautilus Dr
     Manahawkin, NJ 08050-2240


     Chris Guider
     1958 Breakers Dr
     Barnegat, NJ 08005-2646


     Chris Guider, jr.
     1958 Breakers Dr
     Barnegat, NJ 08005-2646


     Chris Wynkoop
     1206 S Bay Ave
     Beach Haven, NJ     08008-1516
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 130 of 180




     Christopher Yax
     29 Bunker Dr
     Little Egg Harbor, NJ      08087-2940


     Cindy Ludwig
     730 Hill St
     Lanoka Harbor, NJ      08734-1734


     Dan Biloram
     190 Nolan Ave
     Bayville, NJ 08721-3475


     Dan Strongarone
     45 Chatham Rd
     Little Egg Harbor, NJ      08087-3661


     Dan Wyrsch
     310 Bayberry Ct
     West Creek, NJ 08092-2834


     Dane Nugent
     5000 Long Beach Blvd
     Beach Haven, NJ 08008-3932


     Daniel C Cummings
     185 Parkertown Dr
     Little Egg Harbor, NJ      08087-9711
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 131 of 180




     Daniel J Crank
     221 Montclair Rd S
     Barnegat, NJ 08005-2614


     Daniel J Schreck
     Schreck Bavaro & Co
     10 N Park Pl Ste 530
     Morristown, NJ 07960-7101


     Daniel N Sanzo
     853 Buccaneer Ln
     Manahawkin, NJ 08050-2111


     Daniel Rauh
     2 Alpine Dr
     North Haledon, NJ      07508-3116


     Daniel Richardson
     71 Galley Way
     Little Egg Harbor, NJ      08087-3664


     Dave Wyrsch Jr
     110 Autumn Oak Ln
     Manahawkin, NJ 08050-2578


     David Brothers
     6 Childsworth Ave
     Bernardsville, NJ      07924-2304
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 132 of 180




     David Johnson
     35 Golf View Dr
     Little Egg Harbor, NJ      08087-4219


     David L Wyrsch
     1068 Whispering Oak Ln
     Manahawkin, NJ 08050-2632


     David Lane
     805 16th Ave Apt 2
     Belmar, NJ 07719-2810


     David Laney
     35 Sea Breeze Dr
     Little Egg Harbor, NJ      08087-9765


     David R Young
     41 Lighthouse Way
     Beach Haven, NJ 08008-6122


     David Roskos
     58 Foster Road Pennington Rd
     Pennington, NJ 08534


     David S Ginsburg
     55 W California Ave
     Long Beach Township, NJ       08008-3232
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 133 of 180




     David Stout
     12 Rapids Ct
     Barnegat, NJ     08005-5571


     David Wallinger
     151 Barracuda Rd
     Manahawkin, NJ 08050-1202


     Debbie Esposito
     2405 Cadwallader Sonk Rd
     Cortland, OH 44410-9425


     Debbie Leonard
     730 Hill St
     Lanoka Harbor, NJ      08734-1734


     Dennis Daniels
     1312 Lancewood Ter
     Palm City, FL 34990-8051


     Dennis M Filippon
     209 Arborridge Dr
     Forked River, NJ 08731-1084


     Dennis Mondelli
     37 Deer Run Dr N
     Barnegat, NJ 08005-2032
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 134 of 180




     Dennis N Longstre
     6946 SE Harbor Cir
     Stuart, FL 34996-1915


     Derek R Stanton
     8 Grayhawk Ln
     Little Egg Harbor, NJ      08087-4240


     Diane Cocozza
     38 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     Dolan, Bell & Marsella
     Certified Public Accountants
     24 Nautilus Dr Ste 9-10
     Manahawkin, NJ 08050-2490


     Dolores Diaz
     90 Eazst Milan Blvd
     Farmingdale, NJ 07727


     Don Kakstis
     16 5th St
     Beach Haven, NJ     08008-1962


     Donald Burnaford
     6405 A Long Beach Blvd
     Harvey Cedars, NJ 08008
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 135 of 180




     Donald Leese
     366 Golf View Dr
     Little Egg Harbor, NJ      08087-4230


     Donald Maurer
     10 Galley Way
     Little Egg Harbor, NJ      08087-3663


     Donald Wynkoop
     1206 S Bay Ave
     Beach Haven, NJ     08008-1516


     Donna Toledo
     42 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     Dorasani Reddy
     149 Kristine Ave
     Manahawkin, NJ 08050-7811


     Dustin Bodony
     10 Longworth Ct
     West Creek, NJ 08092-2831


     Ed Balzarotti
     32 Murphy Cir
     Florham Park, NJ     07932-2012
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 136 of 180




     Ed Lemire
     252 Newport Way
     Little Egg Harbor, NJ      08087-3650


     Edward Malone
     19 Golf View Dr
     Little Egg Harbor, NJ      08087-4219


     Edward Naughton
     52 Lafayette Dr
     Manahawkin, NJ 08050-2907


     Edward Walsh
     4 Biabou Dr
     Toms River, NJ     08757-3733


     Edward Zebrowski
     358 W 10th St
     Ship Bottom, NJ 08008-6308


     Edward Zolcinski
     42 Schindler Ct
     Upper Saddle River, NJ       07458-2362


     Eileen Dolan
     373 Golf View Dr
     Little Egg Harbor, NJ      08087-4227
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 137 of 180




     Eileen Kelly
     116 Albert Dr
     Manahawkin, NJ     08050-4504


     Elaine Turken
     161 Flamingo Rd
     Tuckerton, NJ 08087-2408


     Ellen Conners
     13 Links Ln
     Little Egg Harbor, NJ      08087-4249


     Emery Dupuis
     7 Shoemaker Rd
     Manalapan, NJ 07726-6016


     Eric Hansen
     389 S Green St
     Tuckerton, NJ 08087-2526


     Eric Swain
     1022 Midship Ave
     Manahawkin, NJ 08050-2338


     Erik Jurgensen
     155 Ravenwood Blvd
     Barnegat, NJ 08005-2203
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 138 of 180




     Erin Guider
     1958 Breakers Dr
     Barnegat, NJ 08005-2646


     Ester Tomasette
     120 E 21st St
     Beach Haven, NJ     08008


     Frank Bode
     66 Golf View Dr
     Little Egg Harbor, NJ       08087-4222


     Frank Janda
     1330 Lee Way
     Forked River, NJ     08731-4123


     Frank Peters
     668 Loxley Dr
     Toms River, NJ     08753-4384


     Frank Zurica
     911 Travis Ave
     Staten Island, NY      10314-5707


     Fred Santos
     2273 Old Church Rd
     Toms River, NJ 08753-8156
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 139 of 180




     Frederick Collins
     273 Grove St
     Woodbridge, NJ 07095-1627


     Gail Lavrentiev
     28 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Gateion Canonico
     15 Masters Ct
     Little Egg Harbor, NJ      08087-2904


     Gene Pepe
     216 Newport Way
     Little Egg Harbor, NJ      08087-3650


     George Bailey
     25 Highland Dr
     Manahawkin, NJ     08050-5440


     George Draeger
     PO Box 4117
     Wayne, NJ 07474-4117


     George Georgeles
     11 Cypress Ct
     Little Egg Harbor, NJ      08087-4231
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 140 of 180




     George Ondic Jr
     79 Shady Nook Dr
     Toms River, NJ 08755-5127


     George Petronella
     30 Masters Ct
     Little Egg Harbor, NJ      08087-2943


     George R. Hyatt
     21 Grayhawk Ln
     Little Egg Harbor, NJ      08087-4243


     George Ruotolo
     2409 Central Ave
     Ship Bottom, NJ 08008-4234


     George W Davis
     PO Box 389
     Barnegat Light, NJ      08006


     Gerry Ludwig
     730 Hill St
     Lanoka Harbor, NJ      08734-1734


     Ginny Habakus
     7749 SE Spicewood Cir
     Hobe Sound, FL 33455-8204
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 141 of 180




     Gloria Barnet
     311 Golf View Dr
     Little Egg Harbor, NJ      08087-4225


     Grace Klements
     16 Pembrook Ct
     Little Egg Harbor, NJ      08087-3923


     Gregg Carlovich
     15 Central Park W Apt 6P
     New York, NY 10023-7711


     Gregory J McNally
     27 Warren Ct
     Manahawkin, NJ 08050-7817


     Herman Pharo
     124 Lanyard Rd
     Manahawkin, NJ     08050-1619


     Howard Shemitz
     60 Butler Dr
     Barnegat, NJ 08005-2252


     J & J Partnership, LLC
     PO Box 1825
     Little Egg Harbor, NJ 08087-5825
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 142 of 180




     Jack Byrnes
     1701 Seaview Ave
     Barnegat Light, NJ      08006-1504


     Jack Tooker
     12 E 14th St
     Beach Haven, NJ     08008-2212


     James Adams
     25 Rutledge Rd
     Valhalla, NY 10595-1250


     James Cadmus
     13 Kings Cir
     Malvern, PA 19355-2001


     James Carver
     612 Batchelor St
     Toms River, NJ 08753-6835


     James Fisher
     10 Pheasant Run
     Clarksburg, NJ 08510-1709


     James Fisher Jr.
     10 Pheasant Run
     Clarksburg, NJ 08510-1709
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 143 of 180




     James G. McCaffrey
     14 W 16th St
     Beach Haven, NJ 08008-2239


     James Gluck
     217 Washington St
     Toms River, NJ 08753-7567


     James H Hughes
     25 Shoveler Ln
     Manahawkin, NJ     08050-3178


     James J Connallon
     48 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     James J Damato
     24634 Saint Denis Ct
     Valencia, CA 91355-3500


     James J. Curry, esq.
     505 Main St
     Toms River, NJ 08753-7443


     James McNally
     251 Newport Way
     Little Egg Harbor, NJ      08087-3655
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 144 of 180




     James Saxton
     413 Riverside Dr
     Pine Beach, NJ 08741-1144


     Jane Zeitschel
     19 Cypress Ct
     Little Egg Harbor, NJ      08087-4231


     Janet Wolf
     461 Golf View Dr
     Little Egg Harbor, NJ      08087-4229


     Jason Montelelone
     512 Ridgefield Rd
     Wilton, CT 06897-1926


     Jean Lusardo
     207 Jeremy Ln
     Manahawkin, NJ     08050-3634


     Jeff Ervin
     16 Pikes Peak Rd
     Little Egg Harbor, NJ      08087-9636


     Jeff Ray
     535 Locust Point Rd
     Rumson, NJ 07760-2321
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 145 of 180




     Jeff Reilly Jr
     328 Bayberry Ct
     West Creek, NJ 08092-2834


     Jeff Wyrsch
     110 Autumn Oak Ln
     Manahawkin, NJ 08050-2578


     Jeremy DeFilippis
     12 Mea Ln
     Beach Haven, NJ 08008-3633


     Jim Engler
     53 Freedom Hills Dr
     Barnegat, NJ 08005-1827


     Jim Oliveiero
     115 Golf View Dr
     Little Egg Harbor, NJ      08087-4223


     Jim Thoma
     717 Philadelphia Blvd
     Sea Girt, NJ 08750-2514


     Joanne Prosky
     13 Golf View Dr
     Little Egg Harbor, NJ      08087-4219
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 146 of 180




     Joe Abakus
     7749 SE Spicewood Cir
     Hobe Sound, FL 33455-8204


     Joe Donabauer
     5 Stafford Ter
     Parsippany, NJ     07054-4035


     Joe Ernst
     26 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     Joe Hutchinson Jr
     31 Eagle Ridge Ln
     West Creek, NJ 08092-3234


     Joe Hutchinson Sr
     3100 Long Beach Blvd
     Beach Haven, NJ 08008-4129


     Joesep Morella
     422 Golf View Dr
     Little Egg Harbor, NJ      08087-4232


     Joey Fabian
     9 Mimi Pl
     Manahawkin, NJ     08050-5611
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 147 of 180




     Joh n Dusko
     235 Newport Way
     Little Egg Harbor, NJ      08087-3655


     John Adamiak
     1068 H Long Breach Blvd
     Beach Haven, NJ 08008


     John Arizzi
     22 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     John Botteri
     43 Sycamore Dr
     Little Egg Harbor, NJ      08087-3311


     John Buerkle
     352 Golf View Dr
     Little Egg Harbor, NJ      08087-4230


     John Carlovich
     15 Central Park W Apt 6P
     New York, NY 10023-7711


     John G Shaw
     14 A Long Beach Blvd Long Bch
     Beach Haven, NJ 08008
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 148 of 180




     John Gluck
     401 Monmouth Ave
     Pine Beach, NJ 08741-1607


     John Halliwell
     888 Gerald Dr
     Toms River, NJ     08753-2807


     John Harden
     29 Woodlane Rd
     Lawrence Township, NJ      08648-1055


     John Harden Jr
     319 Monroe St Apt 1
     Hoboken, NJ 07030-7665


     John J Sherman
     26 Timber Ln
     West Creek, NJ     08092-9677


     John K Schilling
     118 W Holly Ln
     Tuckerton, NJ 08087-2038


     John Minnella
     335 Golf View Dr
     Little Egg Harbor, NJ      08087-4225
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 149 of 180




     John O'Reilly
     65 Chatham Rd
     Little Egg Harbor, NJ      08087-3661


     John P Dugan
     44 Watts Ave
     Barnegat, NJ     08005-1330


     john P Wheatley
     316 Golf View Dr
     Little Egg Harbor, NJ      08087-4230


     John Stuebing
     40 Stagecoach Ct
     Little Egg Harbor, NJ      08087-9662


     John Sullivan
     41 Masters Ct
     Little Egg Harbor, NJ      08087-2904


     Jon Conahan
     15820 Savona Way
     Naples, FL 34110-2700


     Joseph Barnet
     311 Golf View Dr
     Little Egg Harbor, NJ      08087-4225
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 150 of 180




     Joseph Brancato
     272 Clipper Rd
     Manahawkin, NJ 08050-1218


     Joseph G. Kiely
     27 Johns Dr
     Warren, NJ 07059-3006


     Joseph Hanney
     834 Old Farm Rd
     Point Pleasant Beach, NJ       08742-4048


     Joseph LaManna
     1205 Niihau Dr
     Forked River, NJ     08731-4702


     Joseph Mezzina
     72 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Joseph Schwartz
     39 Bunker Dr
     Little Egg Harbor, NJ      08087-2940


     Joseph Serico
     160 Bayville Way
     Waretown, NJ 08758-2735
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 151 of 180




     Joseph Watters
     49 Golf View Dr
     Little Egg Harbor, NJ      08087-4219


     Joshua Roda
     2401 Bay Vis
     Surf City, NJ     08008-5500


     Jospeh Tomasette
     120 E 21st St
     Beach Haven, NJ 08008


     Judith Ruffo
     34 Grayhawk Ln
     Little Egg Harbor, NJ      08087-4240


     Julie Swarts
     34 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     Karen Bandosz
     308 Golf View Dr
     Little Egg Harbor, NJ      08087-4230


     Karen Buerkle
     352 Golf View Dr
     Little Egg Harbor, NJ      08087-4230
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 152 of 180




     Karen O"Connell
     122 Lakeshore Dr
     North Palm Beach, FL      33408-3605


     Karen Rauh
     2 Alpine Dr
     North Haledon, NJ      07508-3116


     Kathleen Cameron
     18 Cypress Ct
     Little Egg Harbor, NJ      08087-4231


     Kathleen Guarino
     3 Downe Cir
     Medford, NJ 08055-3331


     Kathryn Adamiak
     1068 H Long Breach Blvd
     Beach Haven, NJ 08008


     Kathy Halliday
     14 Susan Ln
     Manahawkin, NJ     08050-4270


     Keith Klements
     163 Giffordtown Ln
     Little Egg Harbor, NJ      08087-9603
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 153 of 180




     Keith Marcoon
     10 Trent Ct
     Manahawkin, NJ     08050-5617


     Keith Tyhanic
     16 Pembrook Ct
     Little Egg Harbor, NJ      08087-3923


     Ken Schoene
     27 Masters Ct
     Little Egg Harbor, NJ      08087-2904


     Ken Sullivan
     913 Walnut Rd
     Manahawkin, NJ     08050


     Kenneth Schroen
     102 Joanna Dr
     Toms River, NJ 08753-5214


     Kevin Askew
     39 Harbor Inn Rd
     Bayville, NJ 08721-3559


     Kevin Bergin
     4 E Nebraska Ave
     Long Beach Township, NJ       08008-3154
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 154 of 180




     Kevin Hartnett
     42 Landing Dr
     Dobbs Ferry, NY     10522-1182


     Kevin Hogan
     1907 Ocean Ave # Aenue
     Surf City, NJ 08008-5443


     Kevin Laney
     35 Sea Breeze Dr
     Little Egg Harbor, NJ      08087-9765


     Kevin Laney Sr
     35 Sea Breeze Dr
     Little Egg Harbor, NJ      08087-9765


     Kim Nutt
     108 Dune Ln
     Barnegat, NJ     08005-2903


     Kimberly Laney
     35 Sea Breeze Dr
     Little Egg Harbor, NJ      08087-9765


     Larry Cameron
     18 Cypress Ct
     Little Egg Harbor, NJ      08087-4231
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 155 of 180




     Larry Gelinas
     116 Demmy Ave
     Waretown, NJ 08758-2326


     Larry Gever
     11 Starboard Ct
     Little Egg Harbor, NJ      08087-3662


     Larry Leising
     194 Ambermist Way
     Forked River, NJ 08731-1086


     Larry Tevnan
     20 Masters Ct
     Little Egg Harbor, NJ      08087-2943


     Larry Wallace
     90 Sunlit Dr
     Watchung, NJ 07069-6219


     Laura J. Colla
     35 Butler Dr
     Barnegat, NJ 08005-2251


     Lawrence H. Hofer
     7 Masters Ct
     Little Egg Harbor, NJ      08087-2904
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 156 of 180




     Lawrence Rubin
     6 Chatham Rd
     Little Egg Harbor, NJ      08087-3658


     Lewis Furman
     25 Chatham Rd
     Little Egg Harbor, NJ      08087-3661


     Lewis Sofield
     106 1st Ave
     Tuckerton, NJ     08087-2704


     Linda Gamble
     311 Orchard Way
     Wayne, PA 19087-4833


     Linda Longstreet
     6946 SE Harbor Cir
     Stuart, FL 34996-1915


     Linda Rawlins
     286 Holcombe Way
     Lambertville, NJ     08530-2227


     Lisa Fabian
     9 Mimi Pl
     Manahawkin, NJ     08050-5611
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 157 of 180




     Lori Moscato
     41 Hamble Rd
     Little Egg Harbor, NJ      08087-3667


     Lynie Barry
     54 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Maggie Lessard
     9600 Beach Ave
     Beach Haven, NJ     08008-3219


     Margaret Felix
     436 Golf View Dr
     Little Egg Harbor, NJ      08087-4232


     Marilyn Colucci
     361 Golf View Dr
     Little Egg Harbor, NJ      08087-4227


     Mario J Abati
     37 Masters Ct
     Little Egg Harbor, NJ      08087-2904


     Mark Balzarotti
     6 Atlas Rd
     Basking Ridge, NJ      07920-2206
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 158 of 180




     Mark Prosky
     13 Golf View Dr
     Little Egg Harbor, NJ      08087-4219


     Marke Heslin
     330 Privateer Rd
     Manahawkin, NJ 08050-1702


     Martin Cutter
     1600 Strem Pkwy
     Point Pleasant, NJ      08742


     Martin Reiss
     54 Butler Dr
     Barnegat, NJ     08005-2252


     Mary Gifford
     67 Pine Oak Blvd
     Barnegat, NJ 08005-3111


     Mary Jane Watters
     49 Golf View Dr
     Little Egg Harbor, NJ      08087-4219


     Mary Kate Reilly
     328 Bayberry Ct
     West Creek, NJ 08092-2834
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 159 of 180




     Maureen Tyhanic
     16 Pembrook Ct
     Little Egg Harbor, NJ      08087-3923


     Michael A. Mazur
     359 W 12th St
     Ship Bottom, NJ 08008-4525


     Michael Bayles
     209 Glen Arden Dr
     Fairfield, CT 06824-3901


     Michael Boucher
     405 Timberl Ln
     Newtown Square, PA      19073


     Michael C Coogan
     354 Golf View Dr
     Little Egg Harbor, NJ      08087-4230


     Michael Cocozza
     38 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     Michael Eiche
     4 Corkery Ln
     Medford, NJ 08055-2369
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 160 of 180




     Michael Knapp
     14 Hemlock Ln
     Bayville, NJ 08721-2406


     Michael Kurdes
     50 Valentine St
     Monmouth Beach, NJ      07750-1466


     Michael Lusardo
     207 Jeremy Ln
     Manahawkin, NJ 08050-3634


     Michael Lutz
     5 Hearthwood Ct
     Manahawkin, NJ 08050-7807


     Michael Monteleone
     309 E 87th St Apt 6
     New York, NY 10128-4809


     Michael Sullivan
     1118 E Long Beach Blvd
     North Beach, NJ 08008


     Michael Zisman
     311 Orchard Way
     Wayne, PA 19087-4833
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 161 of 180




     Michelle McMenamin
     411 N 3rd St
     Surf City, NJ 08008-4928


     Mickey Minitti
     509 Northern Blvd
     Bayville, NJ 08721-2742


     Mike Cuoco
     109 W Osborn Ave
     Beach Haven, NJ 08008-1226


     Mike Remus
     365 S 3rd St
     Surf City, NJ     08008-4738


     Mitchell Perkins
     14 Oak Tree Ln
     Manahawkin, NJ 08050-3075


     Morgan Tyhanic
     16 Pembrook Ct
     Little Egg Harbor, NJ      08087-3923


     Nancy Lynch
     210 N 11th St
     Surf City, NJ     08008-5310
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 162 of 180




     Nancy Wallace
     90 Sunlit Dr
     Watchung, NJ 07069-6219


     Nick Amabile
     559 Bethany Ln
     Brick, NJ 08723-5064


     Nick Manoy
     7 Swan Hollow Ct
     Ramsey, NJ 07446-1298


     Nicole Astegher
     315 Lighthouse Dr
     Manahawkin, NJ 08050-2324


     Ozzie Dupuis
     73 John Dr
     Kirkwood, PA     17536-9522


     Pat Fredella
     7 Chatham Rd
     Little Egg Harbor, NJ      08087-3661


     Patrick Bergamo
     39 Lakeland Dr
     Barnegat, NJ 08005-5546
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 163 of 180




     Patrick Dolan
     237 Barnsboro Rd
     Sewell, NJ 08080-4503


     Patrick Esposito
     2405 Cadwallader Sonk Rd
     Cortland, OH 44410-9425


     Patrick Hogan
     1907 Ocean Ave # Aenue
     Surf City, NJ 08008-5443


     Patrick Lynch
     222 Newport Way
     Little Egg Harbor, NJ      08087-3650


     Patrick Mazzaro
     240 Timberlake Dr
     Manahawkin, NJ 08050-4605


     Patrick Minnella
     192 Liberty Ave
     Manahawkin, NJ 08050-1915


     Paul Gluck
     621 Huntington Ave
     Pine Beach, NJ 08741-1239
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 164 of 180




     Paul Mikitik
     147 Newport Way
     Little Egg Harbor, NJ      08087-3644


     Paul Reilly
     328 Bayberry Ct
     West Creek, NJ 08092-2834


     Paul Sharkey
     57 Lafayette Dr
     Manahawkin, NJ 08050-2908


     Paul W Davis
     39 Ashwood Dr
     Brick, NJ 08723-3401


     Paula Doll
     6324 Long Beach Blvd
     Harvey Cedars, NJ 08008-5758


     Peg Danley
     517 Shore Ave
     Ship Bottom, NJ     08008-4733


     Perry Michael Baue
     6 The Arbors
     New Providence, NJ      07974-1994
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 165 of 180




     Pete Fabin, Jr
     9 Mimi Pl
     Manahawkin, NJ     08050-5611


     Pete Panietti
     242 W 9th St
     Ship Bottom, NJ     08008-4613


     Peter F Parrinell
     25 Masters Ct
     Little Egg Harbor, NJ      08087-2904


     Peter Fabian Sr
     9 Mimi Pl
     Manahawkin, NJ 08050-5611


     Peter Hellawell
     42 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Peter L Merkel
     56 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Peter Papa
     431 Golf View Dr
     Little Egg Harbor, NJ      08087-4229
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 166 of 180




     Peter Swarts
     34 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     Peter Vandenberg
     382 Cokes Dr
     Toms River, NJ 08753-4258


     Philip Ferinde
     32 Mulberry Dr
     Manahawkin, NJ     08050-5439


     Phillip Fegarsky
     31 Hamble Rd
     Little Egg Harbor, NJ      08087-3667


     Pierce Herbst
     99 Lakeview Dr E
     Egg Harbor Township, NJ       08234-7818


     Ralph Bonadies
     63 Hidden Lake Cir
     Barnegat, NJ 08005-5593


     Ralph Moscato
     41 Hamble Rd
     Little Egg Harbor, NJ      08087-3667
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 167 of 180




     Ramond Rawlins
     286 Holcombe Way
     Lambertville, NJ     08530-2227


     Ray Milavsky
     4 Labaia Ln
     Beach Haven, NJ     08008-6120


     Raymond Moehring
     333 Bay Ave
     Tuckerton, NJ 08087-2505


     Rebecca Boncheck
     423 Middle Branch Dr
     Forked River, NJ 08731-4941


     Reid Carnes
     427 Oak Ave
     West Creek, NJ     08092-2814


     Rich Nisula
     220 Newport Way
     Little Egg Harbor, NJ      08087-3650


     Rich McDowell
     316 N 6th St
     Surf City, NJ     08008-5262
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 168 of 180




     Richard Corsetto
     6 Manchester Ct
     Wayne, NJ 07470-3304


     Richard Lindquist
     333 E 91st St Apt 6P
     New York, NY 10128-5895


     Richard Longsh
     58 Chatham Rd
     Little Egg Harbor, NJ      08087-3660


     Richard Mandel
     2604 Lynbrooke Dr
     Yardley, PA 19067-7274


     Richard Pollard
     4 John St
     Little Egg Harbor, NJ      08087-9615


     Richard Toledo
     42 Bunker Dr
     Little Egg Harbor, NJ      08087-2942


     Richard Tretsky
     15 Clear Lake Rd
     Whiting, NJ 08759-2970
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 169 of 180




     Rick Sinopoli Sr
     20 Links Ln
     Little Egg Harbor, NJ      08087-4250


     Rick Videyko
     20 Greenside Dr
     Little Egg Harbor, NJ      08087-2096


     Robert Aftanis
     110 Berkeley Ave
     Beach Haven, NJ 08008-1615


     Robert B. Doll
     11700 Beach Avenue Long Bch
     Beach Haven, NJ 08008


     Robert Conners
     13 Links Ln
     Little Egg Harbor, NJ      08087-4249


     Robert Danley
     517 Shore Ave
     Ship Bottom, NJ     08008-4733


     Robert Kirtcher
     5 W Lillie Ave
     Beach Haven, NJ     08008-3131
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 170 of 180




     Robert Lyons
     315 Lighthouse Dr
     Manahawkin, NJ 08050-2324


     Robert Nugent
     5000 Long Beach Blvd
     Beach Haven, NJ 08008-3932


     Robert Shillito
     22 Grayhawk Ln
     Little Egg Harbor, NJ      08087-4240


     Robert Stohrer
     115 N Ohio Ave
     Barnegat Light, NJ      08006


     Robert Thoma
     651 Oriskany Ct
     Osprey, FL 34229-9379


     Robert Tobias
     104 E Mac Evoy Ln
     Long Beach, NJ 08008-2921


     Robert Turken
     161 Flamingo Rd
     Tuckerton, NJ 08087-2408
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 171 of 180




     Robert W Tredinni
     432 Golf View Dr
     Little Egg Harbor, NJ      08087-4232


     Robert Wolf
     461 Golf View Dr
     Little Egg Harbor, NJ      08087-4229


     Robert Woods
     408 Championship Way
     Moorestown, NJ 08057-3993


     Ron Colla
     35 Butler Dr
     Barnegat, NJ     08005-2251


     Ronald Fuller
     86 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Ronald Renaud
     387 Lighthouse Dr
     Manahawkin, NJ 08050-2324


     Rose Marie Davidson
     135 E Ryerson Ln
     Beach Haven, NJ 08008-2866
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 172 of 180




     Rosemaur Leonardo
     67 Cedars Ave
     Harvey Cedars, NJ      08008-5720


     Rudy Palombi
     1699 Meetinghouse Ln
     Yardley, PA 19067-2600


     Saibaba Reddy
     149 Kristine Ave
     Manahawkin, NJ 08050-7811


     Salvatore Messina
     233 Montant Dr
     Palm Beach Gardens, FL       33410-1614


     Sam Judy Cromwell
     112 Lake Winnepesaukee Dr
     Little Egg Harbor, NJ 08087-1237


     Sami Reilly
     328 Bayberry Ct
     West Creek, NJ 08092-2834


     Sandra Johnson
     35 Golf View Dr
     Little Egg Harbor, NJ      08087-4219
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 173 of 180




     Scott Pezarras
     1099 Verdant Rd
     Toms River, NJ 08753-3533


     Sean McGilloway
     891 Derry Dr
     Toms River, NJ 08753-3550


     Sean Osborne-Lomas
     1183 Canal Ave
     Manahawkin, NJ 08050-2209


     Seth D Friedland
     62 William St Fl 3
     New York, NY 10005-1546


     Shawn Weeks
     8 York Dr
     Helmetta, NJ     08828-1161


     Shawn Weeks Jr
     8 York Dr
     Helmetta, NJ 08828-1161


     Shawn Weeks. Jr.
     8 York Dr
     Helmetta, NJ 08828-1161
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 174 of 180




     Stacy Cramer Jr
     357 Mermaid Dr
     Manahawkin, NJ 08050-1231


     Stephen Mariconda
     1217 Taurus Ct
     Forked River, NJ 08731-5325


     Stephen Mottola
     26 Reed Rd
     Hillsborough, NJ     08844-4551


     Steve Bishop
     35 Jib Ct
     Bayville, NJ     08721-1550


     Steve Cohen
     51 Edward Ct
     Basking Ridge, NJ      07920-1966


     Steve Kennedy
     68 Perrin Ave
     Pompton Lakes, NJ      07442-1124


     Steven Bender
     300 Prospect Ave Apt 18A
     Hackensack, NJ 07601-7706
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 175 of 180




     Steven Hirschfeld
     3200 S Ocean Blvd Unit 403
     Highland Beach, FL 33487-2606


     Stuart Ferguson
     2 Richmond Ct
     Tinton Falls, NJ     07712-7731


     Susan Gelinas
     116 Demmy Ave
     Waretown, NJ 08758-2326


     Suzanne Conahan
     15820 Savona Way
     Naples, FL 34110-2700


     Suzanne Linquist
     333 E 91st St Apt 6P
     New York, NY 10128-5895


     Synatech
     829 Radio Rd
     Little Egg Harbor, NJ      08087-1705


     Synatech - Larry P
     829 Radio Rd
     Little Egg Harbor, NJ      08087-1705
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 176 of 180




     Tamra Neer
     821 Beach Haven West Blvd
     Manahawkin, NJ 08050-3811


     Tara Klements
     163 Giffordtown Ln
     Little Egg Harbor, NJ      08087-9603


     Tara Reily
     328 Bayberry Ct
     West Creek, NJ 08092-2834


     Thomas Barton
     18 Masters Ct
     Little Egg Harbor, NJ      08087-2943


     Thomas Dickson
     42 Golf View Dr
     Little Egg Harbor, NJ      08087-4222


     Thomas Gallagher
     25 Osprey Ln
     Bayville, NJ 08721-2062


     Thomas Gutwein
     191 Arborridge Dr
     Forked River, NJ 08731-1068
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 177 of 180




     Thomas J. Cullen
     462 Golf View Dr
     Little Egg Harbor, NJ      08087-4234


     Thomas Lockburner
     55 Murphy Cir
     Florham Park, NJ 07932-2010


     Thomas Sirico
     49 Chatham Rd
     Little Egg Harbor, NJ      08087-3661


     Thoms Brothers
     2 S Central Ave
     Beach Haven, NJ     08008-4844


     Tim Rogers
     17 Stuyvesant Oval Apt 1E
     New York, NY 10009-1935


     Timothy Doll
     268 Forge Rd
     West Creek, NJ     08092-9309


     Timothy McWilliams
     70 Bayview Dr
     Beach Haven, NJ 08008-6108
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 178 of 180




     Timothy Weeks
     44 Hyer Ct
     Aberdeen, NJ 07747-1252


     Todd Muhammad
     97 Barnegat Blvd S
     Barnegat, NJ 08005-1407


     Tom Hughes
     7 Courtyard Ln
     Brielle, NJ 08730-1463


     Tom Wallden
     1806 Baltimore Ave
     Lavallette, NJ 08735-2501


     Tony DiLorenzo
     1112 Chatsworth Dr
     Colleyville, TX 76034


     Trish Gutwein
     191 Arborridge Dr
     Forked River, NJ 08731-1068


     Vincent A Lucrezi
     464 Golf View Dr
     Little Egg Harbor, NJ      08087-4234
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 179 of 180




     Wayne Coyte
     502 Nautilus Blvd
     Forked River, NJ 08731-1915


     Wilaim Davidson
     135 E Ryerson Ln
     Beach Haven, NJ 08008-2866


     William Burke
     26 Westchester Dr
     Little Egg Harbor, NJ      08087-3009


     William Chesner
     6 Hillwood Dr
     Mount Laurel, NJ     08054-6924


     William Fagan
     167 Mizzen Ave
     Manahawkin, NJ     08050-1920


     William Felix
     436 Golf View Dr
     Little Egg Harbor, NJ      08087-4232


     William Gleason
     7 Golf View Dr
     Little Egg Harbor, NJ      08087-4219
Case 20-17228-CMG   Doc 1 Filed 06/03/20 Entered 06/03/20 18:25:00   Desc Main
                        Document     Page 180 of 180




     William Henning
     260 Matey Ave
     Manahawkin, NJ 08050-2233


     William J McDonal
     31 Masters Ct
     Little Egg Harbor, NJ      08087-2904


     William Jones
     9 Parkers Point Blvd
     Forked River, NJ 08731-4808


     William Prata
     130 W Holly Ln
     Little Egg Harbor, NJ      08087-2038


     William Stanbach
     2220 West Ave
     Beach Haven, NJ 08008-1349


     Zvi (Steve) Weinba
     11 Swan Lake Ct
     Barnegat, NJ 08005-5519
